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   7

   8

   9                         UNITED STATES DISTRICT COURT
  10                        CENTRAL DISTRICT OF CALIFORNIA
  11

  12    THRIVE NATURAL CARE, INC.,              Case No. 2:20-CV-9091-PA-AS
  13                    Plaintiff,              DIRECT EXAMINATION TRIAL
                                                DECLARATION OF DAVID
  14          v.                                DREWS
  15    THRIVE CAUSEMETICS, INC.,               Judge: Hon. Percy Anderson
                                                Trial Date: November 9, 2021
  16                    Defendant.              Courtroom: 9A
  17                                            PUBLIC REDACTED VERSION OF
  18                                            DOCUMENT FILED UNDER SEAL

  19         David Drews, upon his oath and subject to the penalty of perjury, declares as
  20   follows:
  21         1.     I make this Declaration containing my direct examination testimony in
  22   support of Plaintiff Thrive Natural Care, Inc. (“Thrive”) in the bench trial against
  23   Defendant Thrive Causemetics, Inc. (“TCI”). I am over 18 years of age. The
  24   matters set forth herein are of my own personal knowledge if called upon to testify
  25   as to such matters, I could and would do so.
  26         A.     Expert Credentials
  27         2.     I am the founder and president of IPmetrics LLC, an intellectual
  28   property consulting firm based in San Diego, California, which specializes in the
                                                                      DAVID DREWS DIRECT EXAM.
                                                                             TRIAL DECLARATION
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   1   strategic analysis, valuation, and expert witness assessment of the full spectrum of
   2   intellectual property and intangible assets. IPmetrics was founded in 2000 to help
   3   clients establish and build the value of their intellectual property. The firm is
   4   headquartered in San Diego, California and serves clients throughout the global
   5   economy. Prior to founding IPmetrics, I was Director of Valuation at CONSOR
   6   Intellectual Asset Management.
   7         3.       I am an intellectual property consultant and have over 30 years’
   8   experience as a financial analyst, primarily concentrated in valuing intellectual
   9   property, including trademarks, trade dress, copyrights, patents, rights of publicity,
  10   know-how, trade secrets, and domain names, among others. I have performed
  11   valuations on assets as diverse as apparel, financial services, retail, automotive,
  12   processed food, non-profit organization, sports, and consumer brand trademarks;
  13   mechanical, chemical, and electrical patents, processes and trade secrets; customer
  14   lists; non-compete agreements; and entertainment industry characters, trademarks
  15   and copyrights. I have also been called upon to calculate damages related to
  16   infringement of intellectual property in numerous litigation and arbitration
  17   proceedings.
  18         4.       Prior to concentrating on intellectual property, I was responsible for
  19   the analysis and valuation of a broad range of credit applicants and investment
  20   vehicles for California Commerce Bank. Before joining California Commerce
  21   Bank, I performed investment research at William O’Neil & Co. My
  22   responsibilities at O’Neil included in-depth analyses of companies in many
  23   different industries, including pharmaceuticals, retail, processed foods, apparel,
  24   biotechnology, computer software, financial services, and scientific instruments,
  25   among others. I hold a Bachelor of Science degree in business administration /
  26   economics from the University of Nebraska. In addition, I hold the Certified
  27   Licensing Professional (CLP) designation, which indicates a demonstrated level of
  28   experience, proficiency and knowledge surrounding intellectual property licensing,
                                                                       DAVID DREWS DIRECT EXAM.
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   1   commercialization, and valuation.
   2         5.     In addition to publishing articles for numerous journals, industry
   3   publications and websites, I am a frequent lecturer on IP valuation issues, including
   4   CLE-accredited presentations that focus on trademark infringement damages. I
   5   have taught several courses for intellectual property valuation and related topics,
   6   including the Intellectual Property Damages course for the National Association of
   7   Certified Valuation Analysts and a Monetary Remedies in Trademark Cases
   8   seminar for the University of San Diego School of Law. I have served on the
   9   Valuation and Taxation Committee and the Trademarks Committee of the
  10   Licensing Executives Society (USA & Canada) and as Chair on the IP Valuation
  11   Committee of Licensing Executives Society International. I have also served on the
  12   Famous and Well-known Marks Committee of the International Trademark
  13   Association (INTA). I currently serve as Editor of les Nouvelles, a journal dedicated
  14   to intellectual property and licensing matters.
  15         6.     I regularly give seminars and professional instruction on intellectual
  16   property valuation, including numerous Continuing Legal Education courses,
  17   conducting a regular IP Valuation Workshop with the Licensing Executives
  18   Society, and serving as a guest instructor at the NASA Langley Research Center on
  19   valuation of intellectual property. Over the years I have given dozens of
  20   presentations on intellectual property damages and valuation, which are described
  21   in more detail in my Curriculum Vitae, which is attached hereto.
  22         7.     I have published articles relating to valuing intellectual property and
  23   damages for trademark cases in publications including les Nouvelles, Intellectual
  24   Property Today, and Total Licensing.
  25         8.     I have testified both at trial and in depositions on many occasions in
  26   litigation and arbitration involving damage calculations and valuation of
  27   trademarks, patents, copyrights, trade secrets, trade dress and rights of publicity,
  28   and have been accepted by numerous courts as an expert witness in this regard. A
                                                                       DAVID DREWS DIRECT EXAM.
                                                                              TRIAL DECLARATION
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   1   more detailed listing of my experience and credentials, as well as cases in which I
   2   have testified and my publications and presentations, is set forth in the attached CV.
   3         B.       Background to Damages Analysis
   4         9.       I was asked to render opinions on the appropriate level of damages to
   5   be awarded to Plaintiff Thrive for the unauthorized use of the THRIVE trademarks
   6   by Defendant TCI. For the purposes of my analysis, it is assumed that liability will
   7   be established at trial. Therefore, my opinions are intended to serve as guidance to
   8   the finder of fact regarding the monetary damages that should be awarded to
   9   Thrive.
  10         10.      It is my understanding that Thrive has alleged TCI’s infringing
  11   products include: (a) products which TCI agrees are considered skincare products;
  12   and (b) products that TCI has advertised as skincare products, but which can be
  13   considered hybrid makeup-and-skincare products, including the Buildable Blur CC
  14   Cream and Filtered Effects Blurring Primer. I refer to these products collectively as
  15   the “Infringing Skincare Products” and refer to the hybrid products separately as the
  16   “Hybrid Products.”
  17         11.      In the process of drawing my conclusions and developing my opinions,
  18   I reviewed Thrive’s First Amended Complaint and incorporated documents, TCI’s
  19   Answer, applicable portions of the document production from both parties, relevant
  20   websites, deposition transcripts and their associated exhibits, and financial
  21   information for both parties. I have also performed independent research on the
  22   skincare industry, as well as licensing and other royalty-based agreements related to
  23   similar products. This information provides the basis for my analysis and
  24   conclusions.
  25         12.      For my damages analysis, I relied on financial data produced by TCI in
  26   the form of spreadsheets as well as product lists and pricing information. These
  27   documents have been marked as Trial Exhibits 2, 4, 38, and 345, true and correct
  28   copies of which are attached hereto.
                                                                      DAVID DREWS DIRECT EXAM.
                                                                             TRIAL DECLARATION
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   1          13.     I also based my opinions and analysis on the deposition testimony of
   2   Ned Menninger, TCI’s CFO, in a Rule 30(b)(6) deposition taken May 27, 2021. A
   3   true and correct copy of Mr. Menninger’s deposition transcript is attached hereto.
   4   Specifically, Mr. Menninger testified to the creation of the financial data
   5   spreadsheets containing TCI’s revenue information, which I relied upon, and which
   6   products TCI considers to be skincare products. See Menninger 30(b)(6) Depo. at
   7   67:16-71:11.
   8          C.      Disgorgement of TCI’s Profits
   9          14.     I understand that, in assessing profits for disgorgement, “the plaintiff
  10   shall be required to prove defendant’s sales only; defendant must prove all elements
  11   of cost or deduction claimed.” 15 U.S.C. § 1117(a).
  12          15.     In drawing my opinions, I utilized the documentation provided by TCI
  13   as noted above. It identified revenues associated with the Infringing Skincare
  14   Products as well as various claimed expense categories such as advertising and
  15   fulfillment fees. Using that source information, I utilized the revenue and relevant
  16   cost information to determine the gross profits that were associated in various time
  17   frames, 2018, 2019, 2020, and through May 31, 2021.1
  18          16.     Based on documentation from TCI, I calculated the amount of TCI’s
  19   gross profits by subtracting the cost of goods sold and direct expenses consisting of
  20   fulfillment, merchant fees, Shopify commissions, and advertising expenses from
  21   total revenues on sales of these products, all as reported by TCI. I accepted at face
  22   value the reported cost of goods sold (“COGS”) and other direct expenses from TCI
  23   and did not reduce or modify those amounts as stated by TCI in my calculations.
  24   However, as explained in detail below, I did not deduct the expenses labeled as
  25   “Other Overhead” because those expenses are not properly deductible.
  26   1
         My analysis is based on TCI’s sales data provided through May 31, 2021. I understand that
  27   Thrive has requested that TCI update its revenue data for more recent months. To date, TCI has
       failed to supplement its revenue information. If TCI provides updated information for June 2021
  28   to the present, I will update my analysis to accommodate the new information.
                                                                             DAVID DREWS DIRECT EXAM.
                                                                                    TRIAL DECLARATION
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   1          17.   TCI’s claims its net revenue from sales of Infringing Skincare
   2   Products between 2018 through May 31, 2021, is $60,502,023. This number is not
   3   disputed.
   4          18.   It is also undisputed that TCI’s total cost of goods sold, advertising
   5   expenses, merchant fees, and Shopify fees for the Infringing Skincare Products
   6   totals to $38,977,643.
   7          19.   It is my opinion that TCI’s incremental operating profits are equal to
   8   its net revenue minus its cost of goods sold, advertising expenses, merchant fees,
   9   and Shopify fees.
  10          20.   Accordingly, based on the above undisputed numbers, and my review
  11   and analysis of documents and testimony from Defendant TCI, I determined that
  12   TCI’s incremental operating profits on sales of all Infringing Skincare Products
  13   from 2018 through May 31, 2021, are $21,524,380.
  14          21.   Of total incremental operating profits, I determined that $11,698,497
  15   in profits are attributable to the sales of Thrive-branded products that TCI itself
  16   defines as skincare products.
  17          22.   The remaining $9,825,883 in profits are attributable to sales of the two
  18   Hybrid Products: Buildable Blur CC Cream and Filtered Effects Blurring Primer.
  19   That is comprised of $8,703,010 in profits on sales of Buildable Blur CC Cream,
  20   which was launched in 2018, and $1,122,873 in profits on sales of Filtered Effects
  21   Blurring Primer, which was launched in 2020.
  22          D.    Deductible Expenses
  23          23.   I understand, as noted above, that it is TCI’s burden to prove that any
  24   additional claimed expenses are properly deducted from the incremental operating
  25   profits.
  26          24.   However, I will explain here that, from an analysis of the financial
  27   data provided by TCI and deposition testimony from TCI’s CFO, Mr. Menninger, I
  28   determined that it was not proper to deduct any further expenses from the
                                                                       DAVID DREWS DIRECT EXAM.
                                                                              TRIAL DECLARATION
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   1   incremental operating profits amounts identified above.
   2         25.    There is no indication in the material provided by TCI that any of its
   3   additional expenses and costs included in the “Other Overhead” category of costs
   4   were of actual assistance in the production, distribution, or sale of the infringing
   5   products.
   6         26.    I understand that, in the Ninth Circuit, a defendant may only deduct
   7   certain claimed costs if it proves that such costs were of actual assistance in the
   8   production, distribution, or sale of the infringing product. As such, it is my
   9   understanding that a “pure allocation” of overhead costs based on percentage of
  10   revenue is not permissible and has been specifically rejected by the Ninth Circuit.
  11   In other words, a defendant must provide evidence of the actual amount of
  12   overhead expenses attributable to the production, distribution, and sale of each
  13   infringing product, rather than merely allocating a percentage of its total company-
  14   wide expenses to a product based on the percentage of revenue that product
  15   produced.
  16         27.    By way of example, consider a company that sells Product A, which
  17   costs $10 to manufacture, distribute, and sell. The company also sells Products B
  18   and C, which each cost $20 to manufacture, distribute, and sell. However, Product
  19   A has a higher markup and, assuming the same quantities of each product are sold,
  20   Product A comprises 50% of the company’s total revenue whereas Products B and
  21   C combined comprise the other 50% of revenue. Under a pure allocation of
  22   expenses, the company would assign 50% of its total expenses to Product A. The
  23   problem is that such a revenue-based allocation leads to Product A being assigned a
  24   much higher proportion of expenses than the actual expenses that went into making,
  25   distributing, and selling that product. Though the actual expenses incurred in
  26   relation to Product A are much lower than Products B and C, the pure allocation
  27   causes a much higher amount of expenses to be associated with Product A.
  28         28.    From a review of TCI’s revenue data and the testimony of Mr.
                                                                       DAVID DREWS DIRECT EXAM.
                                                                              TRIAL DECLARATION
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   1   Menninger, I determined that the claimed “Other Overhead” expenses listed for
   2   each of the Infringing Skincare Products were allocated by TCI on a “percentage of
   3   revenue” or “pure allocation” basis. Rather than calculating actual overhead
   4   expenses attributable to each product, TCI has allocated a percentage of its total
   5   expenses to each product based on the percentage of revenue that product produced.
   6   See Menninger Depo. at 55:8-58:7, 63:17-66:20, 72:12-22; 76:4-77:9.
   7         29.    While TCI included various costs in its financial data with amounts
   8   allegedly tied to each skincare product, those costs include a wide variety of items
   9   such as rent, travel, employee costs, public relations, bank or consulting fees, legal
  10   fees, charitable donations, and income taxes. According to Mr. Menninger’s
  11   testimony, those expenses bear no relation to the actual costs of production or sale
  12   of any particular product. Rather, the expenses were merely allocated to each
  13   product on a percentage basis based on the percentage of revenue each product
  14   brought in as compared to the company-wide revenue total.
  15         30.    For instance, if, hypothetically, TCI’s revenue from sales of “Defying
  16   Gravity Eye Lifting Cream” in 2020 totaled 2% of TCI’s company-wide revenue
  17   for 2020, Mr. Menninger testified that TCI would allocate 2% of “Other Overhead”
  18   expenses to that product. That is a standard “pure allocation” that is not tied
  19   specifically to the costs to produce, distribute, or sell any particular product.
  20         31.    From my review, TCI has not provided any evidence that the other
  21   claimed expenses such as charitable donations, taxes, entertainment, etc. were “of
  22   actual assistance” in the production, distribution, or sale of the Infringing Skincare
  23   Products, as opposed to the variety of other, non-infringing products TCI sells. As
  24   such, I determined that it was not appropriate to deduct the claimed “Other
  25   Overhead” expenses from the incremental operating profits calculations provided
  26   above, which already took into consideration the COGS and other direct expenses
  27   for the Infringing Skincare Products.
  28         32.    It is therefore my opinion that, if the Court finds TCI liable for
                                                                        DAVID DREWS DIRECT EXAM.
                                                                               TRIAL DECLARATION
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   1   trademark infringement or false designation of origin under the Lanham Act, it is
   2   appropriate that TCI be ordered to disgorge $21,524,380 in profits on sales of
   3   Infringing Skincare Products, which already takes into account TCI’s claimed direct
   4   expenses, without any additional deduction of “Other Overhead” expenses.
   5         33.    If the Court finds in favor of Thrive on liability but determines that the
   6   Hybrid Products are not considered to fall within the category of Infringing
   7   Skincare Products, it is appropriate that TCI be ordered to disgorge $11,698,497 in
   8   profits on sales of products that TCI acknowledges are skincare products.
   9         E.     Profits Attributable to Infringement
  10         34.    I understand that it would be TCI’s burden to prove that any profits on
  11   sales of the Infringing Skincare Products were attributable to factors unrelated to
  12   infringement. In my review of the testimony from TCI’s expert on this subject, Karl
  13   Schulze, TCI has failed to meet that burden and improperly relied on evidence that
  14   fails to contain any support for TCI’s position.
  15         35.    Specifically, the only evidence Mr. Schulz relies on to state an opinion
  16   that TCI’s profits were not attributable to infringement has been marked as Trial
  17   Exhibit 380, a copy of which is attached hereto. This is an email from an outside
  18   marketing consultant, Phil Segal, to Thrive’s CEO, Alex McIntosh. In the email,
  19   Mr. Segal restates some of the content from an interview with TCI’s CEO, Karissa
  20   Bodnar, that was published on a website called www.beautyindependent.com. The
  21   article has been marked as Trial Exhibit 142 pp. 1-14, a true and correct copy of
  22   which is also attached hereto.
  23         36.    The article that is marked as Trial Exhibit 142 is an interview with Ms.
  24   Bodnar for a beauty website. She is asked questions in writing, and they are
  25   answered in writing. She is not under oath and there is no reason to believe her
  26   statements are accurate or even were actually provided by her, as opposed to TCI’s
  27   marketing team. In the email marked as Trial Exhibit 380, the outside consultant,
  28   Mr. Segal, simply summarizes in bullet points what TCI’s CEO allegedly said in an
                                                                      DAVID DREWS DIRECT EXAM.
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   1   interview. That is the sole evidence on which TCI relies to contend its profits were
   2   not attributable to its infringing use of the THRIVE mark.
   3          37.   TCI’s expert, Mr. Schulze, has not offered his own opinion on the
   4   matter or conducted any independent or additional analysis. My understanding is
   5   that Mr. Schulze testified that he “does not know” what percentage of TCI’s profits
   6   are attributable to its Thrive Causemetics brand name and that he claimed that he
   7   did no independent analysis to determine what the drivers of TCI’s sales and profits
   8   are.
   9          38.   I have no reason to believe that Phil Segal has expertise in trademark
  10   use or valuation or even had any knowledge of TCI beyond what he read in the
  11   article.
  12          39.   In my view, it is improper for Mr. Schulze to rely on the summary by
  13   Mr. Segal of the written interview of Ms. Bodnar as evidence that TCI’s
  14   commercial success is attributable to anything but its infringement of the THRIVE
  15   mark—which forms the basis of TCI’s entire brand.
  16          40.   Indeed, it is notable that in the article publishing the interview with
  17   Ms. Bodnar, TCI is referred to as “Thrive” alone, without “Causemetics” many
  18   times. For example, on the first page Ms. Bodnar is referred to as the “29-year-old
  19   founder of Thrive.” The first sentence of the next paragraph states “Thrive is
  20   perhaps the beauty industry’s most low-key breakout brand.” If anything, this
  21   article demonstrates the importance to TCI of using the word “Thrive” in its brand.
  22          F.    Disgorgement Amount is Appropriate
  23          41.   I understand that it is TCI’s burden to prove that a disgorgement award
  24   is a penalty, rather than serving the permissible purposes of compensation,
  25   preventing unjust enrichment, and deterrence of similar actions by others. While I
  26   reserve the right to provide testimony on this subject in rebuttal, I provide some
  27   additional information below.
  28          42.   As an initial point, TCI’s revenue from sales of Infringing Skincare
                                                                       DAVID DREWS DIRECT EXAM.
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   1   Products has been far higher than its profits, totaling $60,502,023 in about two
   2   years of sales, from late 2018 through May 31, 2021. See Trial Exs. 38, 345.
   3         43.    Furthermore, I understand that for the entire period of the infringing
   4   sales, TCI knew of Thrive’s registered trademarks for the THRIVE mark in relation
   5   to skincare products.
   6         44.    In addition, I note that TCI has advertised the Infringing Skincare
   7   Products very heavily. TCI claims that it has spent $23,186,109 to advertise these
   8   products from 2018 through May 31, 2021. See Trial Exs. 38, 345. That amount of
   9   spending to advertise demonstrates that TCI itself values its brand highly, and that
  10   brand incorporates the entire THRIVE mark.
  11         45.    The plaintiff, Thrive, also values the THRIVE brand highly. I note
  12   that, from 2018 to 2020, Thrive spent more than $660,000 on advertising the
  13   THRIVE brand, as shown in Trial Exhibit 327, which is a true and correct copy of a
  14   summary of Thrive’s financial statements from 2013-2020. Moreover, I understand
  15   that Thrive is a successful Public Benefit Corporation with increased growth and
  16   revenue year-over-year, achieving over $1 million sales in 2020 and being on track
  17   to double 2020 revenue by the end of 2021. Thrive’s 2021 revenue and future
  18   projections are contained in Trial Exhibit 227, which is attached hereto.
  19         46.    From my review, every one of Thrive’s skincare products bears the
  20   THRIVE mark, and that brand is the lifeblood of the company. This is therefore not
  21   a situation where a minor mark for a secondary product name or the like has been
  22   infringed. This case involves infringement of the primary brand of plaintiff Thrive,
  23   which significantly affects the value of the THRIVE mark.
  24         47.    In addition, I understand the Court can take into account the value of
  25   deterrence in addition to unjust enrichment.
  26         48.    The disgorgement amount cited above would also serve the
  27   permissible purposes of preventing unjust enrichment to TCI—which sold over $60
  28   million in Infringing Skincare Products—and deterring willful infringement by
                                                                     DAVID DREWS DIRECT EXAM.
                                                                            TRIAL DECLARATION
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   1   others.
   2         I declare under penalty of perjury that the foregoing is true and correct.
   3         Executed on October 25, 2021, at Philadelphia, Pennsylvania.
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   1                              CERTIFICATE OF SERVICE
   2   Case Name: Thrive Natural Care, Inc. v. Thrive Causemetics, Inc.
       Case No.: 2:20-cv-9091-PA-AS
   3
       IT IS HEREBY CERTIFIED THAT:
   4
              I, the undersigned, declare under penalty of perjury that I am a citizen of the
   5   United States over 18 years of age. My business address is 9465 Wilshire Blvd.,
       Ste. 300, Beverly Hills, CA 90212. I am not a party to the above-entitled action.
   6
                I have caused service of the following documents, described as:
   7
         DIRECT EXAMINATION TRIAL DECLARATION OF DAVID DREWS
   8
       on the following parties by electronically filing the foregoing on October 26, 2021,
   9   with the Clerk of the District Court using its ECF System, which electronically
       notifies them.
  10
       Rollin Ransom (SBN 196126)                      Attorneys for Defendant
  11   rransom@sidley.com
       Ryan Stasell (SBN 307431)
  12   rstasell@sidley.com
       Paula Salazar (SBN 327349)
  13   psalazar@sidley.com
       SIDLEY AUSTIN LLP
  14   555 West Fifth St., Ste. 4000
       Los Angeles, CA 90013
  15
       I declare under penalty of perjury under the laws of the United States of America
  16   that the foregoing is true and correct.
  17

  18    Date:     10/26/2021               By: /s/ Thomas Dietrich
  19
                                               Thomas Dietrich

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                                                                      DAVID DREWS DIRECT EXAM.
                                                                             TRIAL DECLARATION
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                            David Drews CV
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 DAVID DREWS, CLP
 PRESIDENT

                 David Drews is founder and president of IPmetrics® LLC, an intellectual
                 property consulting firm. Prior to that, he served as Director of Valuation at
                 CONSOR Intellectual Asset Management. Mr. Drews has accumulated over
                 thirty years’ experience as a financial analyst, primarily concentrated in
                 valuing intellectual property of all types, including trademarks, copyrights,
                 patents, know-how, trade secrets and rights of publicity. His valuation
                 experience includes projects involving use of the assets as collateral,
                 transaction due diligence, joint venture negotiations, licensing, transfer
 pricing and bankruptcy / reorganization.

 Mr. Drews has performed valuations on assets as diverse as apparel, financial services, retail,
 automotive, processed food, non-profit organizations, sports and consumer brand trademarks;
 mechanical, chemical and electrical patents, processes and trade secrets; customer lists; non-
 compete agreements; and entertainment industry characters, trademarks and copyrights. Mr.
 Drews has also been called upon to calculate damages related to infringement of intellectual
 property in numerous litigation and arbitration proceedings.

 Prior to concentrating on intellectual property, Mr. Drews was responsible for the analysis and
 valuation of a broad range of credit applicants and investment vehicles for California
 Commerce Bank. Before joining California Commerce Bank, he performed investment
 research at William O’Neil & Co. His responsibilities at O’Neil included in-depth analyses of
 companies in many different industries, including pharmaceuticals, retail, processed foods,
 apparel, biotechnology, computer software, financial services and scientific instruments,
 among others. Mr. Drews holds a Bachelor of Science degree in business administration /
 economics from the University of Nebraska. In addition, Mr. Drews holds the Certified
 Licensing Professional (CLP) designation, which indicates a demonstrated level of experience,
 proficiency and knowledge surrounding intellectual property licensing, commercialization and
 valuation.

 In addition to regularly publishing articles for numerous journals, industry publications and
 websites, Mr. Drews is a frequent lecturer on IP valuation issues. He has taught several
 courses for intellectual property valuation and related topics, including the Intellectual Property
 Valuation Workshop for the Licensing Executives Society, the Intellectual Property Damages
 course for the National Association of Certified Valuation Analysts and the Valuation of
 Intellectual Property course offered by the National Technology Transfer Center.

 Mr. Drews currently serves as editor of les Nouvelles and previously served on the Famous
 and Well-Known Marks Committee of the International Trademark Association. In the past,
 he has served on the Valuation and Taxation Committee and the Trademarks Committee of
 the Licensing Executives Society USA/Canada and was Co-Chair on the Intellectual Property
 Valuation Committee of Licensing Executives Society International.

 Mr. Drews founded IPmetrics in 2000 to help clients establish and build the value of their
 intellectual property. The firm is headquartered in San Diego, California and serves clients
 throughout the global economy.


  ddrews@ipmetrics.com                                                             www.ipmetrics.com
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 PROFESSIONAL INSTRUCTION

     •    Continuing Legal Education – Instructor
             Courses: Intellectual Property Valuation Techniques
                       Monetary Remedies in Patent Litigation
                       Monetary Remedies in Trademark Cases
                       10 Common Mistakes in IP Valuation / Damages Reports
                       Brand Valuation
     •    Licensing Executives Society – Instructor
              Course: IP Valuation Workshop
     •    University of San Diego School of Law – Guest Instructor
             Course: Monetary Remedies in Trademark Cases
     •    NASA Langley Research Center – Guest Instructor
            Course: Valuation of Intellectual Property
     •    National Association of Certified Valuation Analysts (NACVA) – Past Instructor
              Course: Intellectual Property: Calculating Damages and Lost Profits
     •    National Technology Transfer Center – Past Instructor
              Course: Valuation of Intellectual Property


 SPEECHES AND PRESENTATIONS

     •    les Nouvelles Live! (September 2021 Issue Edition); LESI Webinar; October 2021 – Global
          Video Feed
     •    les Nouvelles Live! (June 2021 Issue Edition); LESI Webinar; July 2021 – Global Video
          Feed
     •    YMC “Ultimate Champion” Discussion; LESI Virtual Annual Meeting; May 2021 – Global
          Video Feed
     •    les Nouvelles Live! (March 2021 Issue Edition); LESI Webinar; March 2021 – Global Video
          Feed
     •    les Nouvelles Live! (December 2020 Issue Edition); LESI Webinar; January 2021 – Global
          Video Feed
     •    les Nouvelles Live! (September 2020 Issue Edition); LESI Webinar; September 2020 –
          Global Video Feed
     •    Monetary Remedies in Trademark Cases; University of San Diego School of Law; March
          2019 – San Diego, CA
     •    10 Common Mistakes in IP Valuation/Damages Reports; Kilpatrick Townsend & Stockton
          In-house CLE; September 2018 – San Francisco, CA
     •    10 Common Mistakes in IP Valuation/Damages Reports; Wilson Elser Moskowitz Edelman
          & Dicker In-house CLE; July 2018 – Nationwide Video Feed
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     •    Select IP Damages Issues: Patents, Trademarks, Counterfeits; BakerHostetler In-house
          CLE; July 2018 – New York, NY
     •    Enter the Experts: Tips and Tools for Identifying Effective Expert Witnesses; American Bar
          Association Regional CLE Workshop; September 2017 – Los Angeles, CA
     •    Monetary Remedies in Trademark Cases; University of San Diego School of Law; April
          2017 – San Diego, CA
     •    Brand Valuation; 12:30 Club; May 2016 – La Jolla, CA
     •    Gain a Competitive Advantage and Maximize the Value of your Deals: Investigating Current
          Trends in Licensing; LES USA & Canada Webinar; April 2016 – Abila.com
     •    Current Issues in Valuing Intellectual Property; VALCON 2016; March 2016 – Las Vegas,
          NV
     •    Monetary Remedies in Trademark Cases; University of San Diego School of Law; March
          2015 – San Diego, CA
     •    IP Valuation Committee Study on Royalty Rates and Deal Structures; Licensing Executives
          Society (LES) USA & Canada Annual Meeting; October 2014 – San Francisco, CA
     •    IP Valuation Techniques; Kirkland & Ellis In-house CLE; September 2014 – New York, NY
     •    How to Determine Brand Value: A Rational Basis for Showing What a Brand Name is Worth
          for Licensing and Litigation; New Jersey Trademark Counsel Luncheon Club; September
          2014 – Basking Ridge, NJ
     •    Monetary Remedies in Trademark Cases; Fish & Richardson In-house CLE; September
          2014 – Nationwide Video Feed
     •    IP Valuation Workshop; Tiger BDO Conference; July 2014 – Westlake Village, CA
     •    10 Common Mistakes in IP Valuation/Damages Reports; Jeffer Mangels Butler & Mitchell
          In-house CLE; July 2014 – Los Angeles, CA
     •    10 Common Mistakes in IP Valuation/Damages Reports; Winston & Strawn In-house CLE;
          July 2014 – San Francisco, CA
     •    IP Valuation Techniques 2-Day Workshop; Red OTT 2nd Annual Conference; November
          2013 – Monterrey, Mexico
     •    10 Common Mistakes in IP Valuation/Damages Reports; LES USA & Canada Webinar;
          November 2013 – Peachnewmedia.com
     •    How to Use IP to Secure Funding; IP Money Talk Webinar; September 2013 –
          Blogtalkradio.com
     •    IP Valuation Techniques; IPmetrics Ballpark Invitational CLE; April 2013 – San Diego, CA
     •    10 Common Mistakes in IP Valuation/Damages Reports; Licensing Executives Society
          International (LESI) Annual Meeting; April 2013 – Rio de Janeiro, Brazil
     •    10 Common Mistakes in IP Valuation/Damages Reports; LES USA & Canada Annual
          Meeting; October 2012 – Toronto, Canada
     •    IP Valuation Workshop; LES USA & Canada Annual Meeting; October 2012 – Toronto,
          Canada
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 David Drews
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     •    IP Valuation Techniques; Indiana Soybean Alliance IP Valuation Seminar; July 2012 – San
          Diego, CA
     •    LESI IP Valuation Committee LES Society Survey Results; Global Technology Impact
          Forum; January 2012 – Geneva, Switzerland
     •    LESI Committee on IP Valuation Standards Survey Results; LES USA & Canada Annual
          Meeting; October 2011 – San Diego, CA
     •    IP Valuation Techniques; Bank of America Special Assets Group Meeting, June 2009 –
          Charlotte, NC (telephonic participation)
     •    IP Valuation Techniques; LES USA & Canada Annual Meeting; October 2008 – Orlando,
          FL
     •    Damages, Valuation and Expert Witness; Gibson, Dunn & Crutcher In-house CLE; June
          2008 – Irvine, CA
     •    Intellectual Property: Calculating Damages and Lost Profits; National Association of
          Certified Valuation Analysts (NACVA) Annual Meeting; December 2007 – Ft. Lauderdale,
          FL
     •    Intellectual Property: Calculating Damages and Lost Profits; NACVA Conference; October
          2007 – Philadelphia, PA
     •    Intellectual Property Valuation Techniques; IP Portfolio Management Conference; May
          2007 – New York, NY
     •    Key Issues in IP Due Diligence; Due Diligence Symposium; April 2007 – Iselin, NJ
     •    IP Valuation Techniques; BIO IPCC Spring Meeting; January 2007 – San Diego, CA
     •    Life Sciences IP Due Diligence; American Conference Institute; January 2007 – San
          Francisco, CA
     •    Intellectual Property: Calculating Damages and Lost Profits; NACVA Annual Meeting;
          December 2006 – Coronado, CA
     •    Fundamentals of Intellectual Property Valuation; IP Licensing Summit; August 2006 – New
          York, NY
     •    Monetization of Intellectual Property; SRI Monetization Conference; June 2006 – Boston,
          MA
     •    NTP vs. RIM: Valuation Perspectives; American Intellectual Property Law Association
          (AIPLA) Spring Meeting; May 2006 – Chicago, IL
     •    Perfecting Security Interests in Intellectual Property; PhillipsLytle / HSBC IP Securitization
          Conference; March 2006 – New York, NY
     •    Opening the Black Box: IP Valuation, Securitization and Disposition Unveiled; Commercial
          Finance Association Annual Conference; November 2005 – San Diego, CA
     •    Brand Valuation; LINK New York; October 2005 – New York, NY
     •    Intellectual Property Valuation Techniques; FindLaw IP Strategies in Deals; October 2004
          – Palo Alto, CA
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 David Drews
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     •    Intellectual Property Valuation Techniques; Sterling Intellectual Property Issues Seminar;
          July 2004 – San Diego, CA
     •    Leveraging IP via the Capital Markets; Sterling Intellectual Property Issues Seminar; July
          2004 – San Diego, CA
     •    Innovative Deal Structures – Licensing Intellectual Property; American Conference
          Institute; October 2000
     •    Licensing on the Internet; LES USA & Canada Annual Meeting; September 2000 – Toronto,
          Canada
     •    Valuation of Electronic Assets; Glasser Legalworks 11th Annual Institute; March 2000 –
          San Francisco, CA
     •    Valuation of Domain Names; Glasser Legalworks 10th Annual Institute; November 1999 –
          Los Angeles, CA
     •    Valuation of Domain Names; LES USA & Canada Annual Meeting; October 1999 – San
          Antonio, TX
     •    Licensing Executives: Guardians of Corporate Technology; LES USA & Canada Annual
          Meeting; October 1999 – San Antonio, TX
     •    Intellectual Property & Reorganizations; Second Annual Conference on Corporate
          Reorganizations; September 1999 – Chicago, IL
     •    Valuation of Intellectual Properties; Pillsbury, Madison & Sutro In-house CLE; August 1999
          – San Diego, CA
     •    Helping Clients Understand and Build the Value of their Intangible Assets; Dow Chemical
          Company; August 1998 – Midland, MI


 PROFESSIONAL ASSOCIATIONS (PAST AND PRESENT)

     •    American Bankruptcy Institute (ABI)
     •    American Bar Association (ABA)
     •    Certified Licensing Professional (CLP)
     •    Defense Research Institute (DRI)
     •    International Trademark Association (INTA)
     •    les Nouvelles Editorial Review Board
     •    Licensing Executives Society (LES)
     •    Licensing Industry Merchandisers Association (LIMA)
     •    National Association of Certified Valuation Analysts (NACVA)
     •    San Diego Intellectual Property Law Association (SDIPLA)


 PUBLICATIONS

    • “Current Issues in Valuing Intellectual Property - Bankruptcy” (VALCON 2016 Course
         Materials, March 2016)
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 David Drews
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    •     “Ten Common Mistakes in IP Valuation/Damages Reports” (les Nouvelles, September
         2015)

    •    “Determining an Appropriate Royalty Rate for Reasonable Royalty Trademark Damages –
         A Modified Georgia-Pacific Framework” (les Nouvelles, September 2014)

    • “Reasonable Royalty Damages in Trademark Cases” (Intellectual Property Today, August
         2013)
    •    “LESI IP Valuation and Standards Committee Report on IP Valuation Survey of LES
         National Societies” (les Nouvelles, June 2012)
    • “Intellectual Property Valuation” (Updated) (Chapter 23 - Drafting License Agreements,
         Fourth Edition, 2012 Supplement, March 2012)
    •    “Rules of the Road: Valuing Commercialized Software-Based Technology” (les Nouvelles,
         June 2011)
    •    “Properly Evaluating a Target with Intellectual Property Rights” (Chapter 2 – Intellectual
         Property Strategies for the 21st Century Corporation, May 2011)
    •    “Countering the Impact of Private Label on Brand Value” (Total Licensing, Winter 2009)
    •    “Leveraging Software Assets via the Capital Markets” (les Nouvelles, September 2008)
    • “Leveraging Software Assets via the Capital Markets” (Iron Mountain Service Information
         Library, July 2008)
    • “The Intangible Assets Handbook – Maximizing Value from Intangible Assets” (Co-editor)
         American Bar Association, March 2007)
    •    “Patent Valuation Techniques” (les Nouvelles, March 2007)
    •    “Intellectual Property Valuation Techniques” (The Licensing Journal, October 2006)
    • “Calculating Questions: Accepted Approaches to Patent Valuation” (Patent World,
         September 2006)
    •    “The Secured Lender (Second Installment)” (www.ipfrontline.com, March 2006)
    •    “The Secured Lender” (Parts I & II) (www.ipfrontline.com, January 2006)
    • “The Impact of SFAS 141 & 142 on Intangible Asset Management” (The Secured Lender,
         November / December 2005)
    • “Intellectual Property Valuation: Context is Critical” (The Secured Lender, September 2005)
    • “Intellectual Property: Collateral for Securitization or Lending” (The Secured Lender, July
         2005)
    •    “Intellectual Property Valuation Techniques” (IP Strategies in Deals 2004, October 2004)
    • “Intellectual Property Valuation” (Updated) (Chapter 23 - Drafting License Agreements,
         Fourth Edition, 2004 Supplement, September 2004)
    • “Valuing for Charitable Donation” (Chapter 19 – Intellectual Property Valuation Primer, July
         2004)
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    •    “Patent License Evaluation” (Patent & High Technology Licensing 2004, May 2004)
    •    “Intangible Asset Valuation Techniques” (Intellectual Property Issues, October 2003)
    • “Leveraging Intellectual Property via the Capital Markets” (Intellectual Property Issues,
         September 2003)
    • “Intellectual Property Valuation” (Chapter 23 - Drafting License Agreements, Fourth Edition,
         September 2002)
    •     “The Cost Approach to IP Valuation: Its Uses and Limitations”
         (www.corporateintelligence.com, January 2001)
    •    “Value v. Fair Market Value” (www.corporateintelligence.com, December 2000)
    • “Situations Where Valuation Comes Into Play” (www.corporateintelligence.com, November
         2000)
    • “A-Bundling We Will Go: When It Comes to Intangible Assets, the Sum is Often Greater
         Than its Parts” (www.corporateintelligence.com, October 2000)
    •    “Donating Idle Patents” (Patent Strategy & Management, August 2000)
    • “Giving Away Your Patents: How to Squeeze Tax Advantages from Unused IP Rights”
         (IP*Network.com, September 1999)
    • “Intellectual Property - The Key to Lower Risk and Higher Margins” (les Nouvelles, June
         1999)
    •    “An Overlooked Way to Exploit Patents” (The Intellectual Property Strategist, April 1999)
     Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 22 of 86 Page ID #:7844



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       EXPERT WITNESS AND LEGAL EXPERIENCE
       (Clients in Bold)



Trial Testimony

      Year                   Case Name                            Case No.                     Issue                  Jurisdiction - Judge

                                                                                                                 USDC, Eastern District of
 1    2021     Lontex Corporation v. Nike, Inc.                2:18-cv-05623        Trademark – Apparel
                                                                                                                 Pennsylvania - Baylson

               ILC Trademark Corp. v. Aviator Nation,                                                            USDC, Central District of California -
 2    2019                                                     2:17-cv-07975        Trademarks – Apparel
               Inc., et al                                                                                       Fitzgerald

               Brighton Collectibles, LLC v. AIF                                                                 California Superior Court,     Los
 3    2017                                                     BC526920             Copyrights – Apportionment
               Corporation d/b/a Time World                                                                      Angeles County - Bruguera

               OSRAM Sylvania, Inc. v. Photographic                                 Copyrights – Commercial      American Arbitration Association,
 4    2017                                                     01-16-0000-2652
               Illustrators Corp.                                                   Images                       Boston - Bonn

               Aurora World Corporation v. Toonzone                                 Breach of Contract –
 5    2016                                                     1220048995                                        JAMS, Los Angeles - Cooper
               Studios, Inc., et al.                                                Animation

               Thomas Sköld v. Galderma Laboratories,                               Trademarks – Skincare        USDC, Eastern District of
 6    2016                                                     2:14-cv-05280-WB
               L.P., et al.                                                         Products                     Pennsylvania - Beetlestone

               DefensTech Int’l. Inc. v. Edward Robert         30-2014-00697473                                  California Superior Court, Orange
 7    2015                                                                          Patents – Blast Mitigation
               Fyfe, et al.                                    CU-BT-CJC                                         County - Lewis

                                                               SAC CV14-00414 JVS   Trademarks – Custom          USDC, Central District of California -
 8    2015     BTM, LLC v. William P. Thomas, III, et al.
                                                               (RNBx)               Automobiles                  Selna

               Block Developers, LLC v. Commissioner of                             Patents – Retaining Wall     US Tax Court, San Diego, California -
 9    2014                                                     003198-10
               Internal Revenue                                                     Blocks                       Holmes

               TexChem Advanced Products, Inc. Sdn.            EDCV 12-01341 JGB    Patents – Semiconductor      USDC, Central District of California -
10    2014
               Bdh. v. e.PAK International, Inc.               (SPx)                Shippers                     Bernal

               Brighton Collectibles v. RK Texas Leather
                                                               10-CV-00419 AJB                                   USDC, Southern District of
11    2013     Mfg., Inc., et al. (Defendant AIF Corp. was                          Copyrights – Watch Designs
                                                               WVG                                               California - Curiel
               the client)

               Gen. Charles E. "Chuck" Yeager (Ret.) v.        CV 07-02517 FCD                                   USDC, Eastern District of California -
12    2012                                                                          Rights of Publicity
               AT&T Mobility, LLC, et al.                      GGH                                               Mueller

               Atlantic Inertial Systems, Inc. v. Condor       08-CV-02947 JHN                                   USDC, Central District of California -
13    2011                                                                          Trade Secrets – Gyroscopes
               Pacific Industries of CA, Inc., et al.          PJWx                                              Snyder

               adidas America, Inc., et al. v. Payless                              Trademarks, Trade Dress –
14    2008                                                     CV01-1655 RE                                      USDC, Oregon - King
               Shoesource, Inc.                                                     Footwear
               Lollar Enterprises, Inc. v. Medtech Capital                          Trade Dress – Health         Arapahoe County Court, Colorado -
15    2004                                                     00 CV 1875
               Markets, LLC, et al.                                                 Equipment                    Spear

               Purebred Company, Inc. v. Star-Kist Foods,
16    2002                                                     00 D 665             Trademarks – Pet Food        USDC, Colorado - Daniel
               Inc.

               Harry A. Ratner, et al. v. Stanley E. Foster,                                                     California Superior Court,     San
17    2000                                                     732482               Trademarks – Apparel
               et al.                                                                                            Diego County

                                                                                                                 US Bankruptcy Court,      Delaware -
18    1999     In re: Fruit of the Loom, Inc.                  99-4497 (PJW)        Trademarks – Apparel
                                                                                                                 Walsh
     Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 23 of 86 Page ID #:7845



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Deposition Testimony

      Year                   Case Name                          Case No.                    Issue                          Jurisdiction

1     2021     MASA v. Xerox Corp.                           6:19-cv-06036       Patents – Printers              USDC, Western District of New York

               Thrive Natural Care, Inc. v. Thrive                               Trademarks – Skincare
2     2021                                                   2:20-cv-09091                                       USDC, Central District of California
               Causemetics, Inc.                                                 Products

               Midwest Athletic Sports Alliance LLC v.                           Patents – Multi-function        USDC, Eastern District of
3     2021                                                   2:19-cv-03423
               Ricoh USA, Inc.                                                   Printers                        Pennsylvania

                                                                                                                 USDC, Eastern District of
4     2020     Lontex Corporation v. Nike, Inc.              2:18-cv-05623       Trademark – Apparel
                                                                                                                 Pennsylvania

               Evolusion Concepts, Inc. v. Juggernaut
5     2020                                                   8:18-cv-1378 JLS    Patent – Firearms               USDC, Central District of California
               Tactical, Inc.

               Waiter.com, Inc. v. WAITR Holdings, Inc.,                         Trademarks – Food Delivery
6     2019                                                   2:16-cv-01041                                       USDC, Western District of Louisiana
               et al                                                             Services

               Lin's Waha International Corp. v. Tingyi                                                          USDC, Eastern District of New York,
7     2019                                                   1:17-cv-00773       Trademarks – Processed Food
               (Cayman Islands) Holding Corp.                                                                    Brooklyn

                                                                                 Copyrights – Music              USDC, Middle District of Tennessee,
8     2019     Robert Gaudio v. Spotify USA, Inc.            3:17-cv-01052
                                                                                 Compositions                    Nashville

               Confectionery Arts International, LLC v. CK                       Trademarks – Cake
9     2018                                                   3:16-cv-02015 JBA                                   USDC, District of Connecticut
               Products LLC                                                      Decorating

               Brighton Collectibles, LLC v. AIF                                                                 California Superior Court, Los
10    2017                                                   BC526920            Copyrights – Apportionment
               Corporation d/b/a Time World                                                                      Angeles County

               OSRAM Sylvania, Inc. v. Photographic                              Copyrights – Commercial         American Arbitration Association,
11    2017                                                   01-16-0000-2652
               Illustrators Corp.                                                Images                          Boston

               Roseville Fullerton Burton Holdings v.
12    2016                                                   8:14-cv-01954       Trademarks – Auto Parts         USDC, Central District of California
               SoCal Wheels, Inc., et al.

                                                                                                                 USDC, Northern District of
13    2016     Morton & Bassett LP v. Organic Spices, Inc.   3:15-cv-01849 HSG   Trade Dress – Spices
                                                                                                                 California
               Thomas Sköld v. Galderma Laboratories,                            Trademarks – Skincare           USDC, Eastern District of
14    2015                                                   2:14-cv-05280-WB
               L.P., et al.                                                      Products                        Pennsylvania

               HRD Corporation v. Dow Chemical                                   Patents – PE Waxes, Hot Melt
15    2015                                                   4:13-cv-3596                                        USDC, Southern District of Texas
               Company                                                           Adhesives

               Flowers Bakeries Brands, LLC v.
16    2015                                                   7:13-cv-138 HL      Trademarks – Bakery Products    USDC, Middle District of Georgia
               Earthgrains Baking Companies, Inc., et al.

                                                                                 Trademarks – Consumer
17    2015     Cue, Inc. v. General Motors LLC               1:13-cv-12647 FDS                                   USDC, District of Massachusetts
                                                                                 Electronics

18    2015     BTM, LLC v. William P. Thomas III, et al.     SACV14-00414 JVS    Trademarks – Collectible Cars   USDC, Central District of California

               Cody Foster & Co. v. Urban Outfitters, et                         Copyrights – Christmas
19    2015                                                   8:14-cv-80                                          USDC, District of Nebraska
               al.                                                               Ornaments
               Spiraledge, Inc. v. SeaWorld                                      Trademarks - Apparel and        USDC, Southern District of
20    2014                                                   13:CV0296 BAS BLM
               Entertainment, Inc., et al.                                       Theme Parks                     California
     Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 24 of 86 Page ID #:7846



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Deposition Testimony (continued)

      Year                   Case Name                            Case No.                     Issue                            Jurisdiction

               Monec Holding AG v. Motorola Mobility,                               Patents – Smartphones and
21    2014                                                    1:11-cv-00798 LPS                                       USDC, District of Delaware
               et al.                                                               Tablet Computers

                                                                                    Trademarks – Haircare             California Superior Court, Los
22    2014     Tre Milano, LLC v. Amazon.com, Inc., et al.    BC460511
                                                                                    Products                          Angeles County

23    2013     Globefill Inc. v. Elements Spirits, Inc.       CV10-2034 CBM         Trade Dress – Distilled Spirits   USDC, Central District of California

               TexChem Advanced Products, Inc. Sdn.                                 Patents – Semiconductor
24    2013                                                    EDCV 12-01341 RGK                                       USDC, Central District of California
               Bdh. v. e.PAK International, Inc.                                    Shippers

               Marketquest Group, Inc. v. BIC                                       Trademarks – Promotional          USDC, Southern District of
25    2012                                                    11-CV-0618 JLS
               Corporation, et al.                                                  Products                          California

               Zions Bancorporation, et al v. RSA Security    74 117 00683 11       Patents – Online Security;        American Arbitration Association,
26    2012
               LLC                                            NOLG                  Indemnification                   Washington, D.C.
               Brighton Collectibles v. RK Texas Leather
                                                                                                                      USDC, Southern District of
27    2012     Mfg., Inc., et al. (Defendant AIF Corp. was    10-CV-00419 AJB       Copyrights – Watch Designs
                                                                                                                      California
               the client)
                                                                                    Trademarks – Toys, Math           USDC, Northern District of
28    2011     IXL Learning, Inc. v. Mattel, Inc. and Fisher-Price,
                                                                CV 10-1902
                                                                    Inc.   JF
                                                                                    Tutor Services                    California

29    2011     Aurora World, Inc. v. Ty, Inc.                 CV09-08463 MMM        Copyrights – Plush Toys           USDC, Central District of California

               Atlantic Inertial Systems, Inc. v. Condor
30    2010                                                    08-CV-02947 JHN       Trade Secrets – Gyroscopes        USDC, Central District of California
               Pacific Industries of CA, Inc., et al.

               Denice Shakarian Halicki, et al. v. Carroll                          Trademarks, Copyrights –
31    2009                                                    07-6859 SJO                                             USDC, Central District of California
               Shelby, et al.                                                       Automobiles

               Rain Corporation v. JYP Entertainment, et                            Trademarks, Rights of             USDC, Nevada
32    2008                                                    3:07-cv-00081 LRH
               al.                                                                  Publicity – Musical Acts          Reno Division

               General Mills, Inc. v. Kellogg Co. and Kraft                         Trademarks – Processed
33    2008                                                    06-cv-03686 JMR                                         USDC, Minnesota
               Foods Global, Inc.                                                   Foods

               ComponentOne, LLC v. ComponentArt,                                                                     USDC, Western District of
34    2008                                                    2:05-cv-01122 TFM     Trademarks – Software
               Inc.                                                                                                   Pennsylvania

               adidas America, Inc., et al. v. Payless                              Trademarks, Trade Dress –
35    2007                                                    CV01-1655 RE                                            USDC, Oregon
               Shoesource, Inc.                                                     Footwear

               Hambrecht Wine Group, L.P. v.                                                                          USDC, Northern District of
36    2007                                                    C 05-4625 JW          Trademarks – Distilled Spirits
               Millennium Import LLC                                                                                  California

               World Triathlon Corp. v. Dawn Syndicated                             Trademarks – Sporting             USDC, Middle District of Florida,
37    2006                                                    8:05 CV 983-T27 EAJ
               Productions, et al.                                                  Events, Entertainment             Tampa Division
               Lollar Enterprises, et al. v. Medtech                                Trade Dress – Health
38    2003                                                    00 CV 1875                                              Arapahoe County Court, Colorado
               Capital Markets, LLC, et al.                                         Equipment
               Purebred Company, Inc. v. Star-Kist Foods,
39    2001                                                    00 D 665              Trademarks – Pet Food             USDC, Colorado
               Inc.

               Funimation Productions, Inc. v. ABC                                  Trademarks – Television           American Arbitration Association,
40    2001                                                    71 133 00559 99
               International Traders                                                Shows, Video Games                Los Angeles
     Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 25 of 86 Page ID #:7847



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Deposition Testimony (continued)

      Year                   Case Name                            Case No.             Issue                       Jurisdiction

               Harry A. Ratner, et al. v. Stanley E. Foster,                                             California Superior Court, San Diego
41    2000                                                     732482        Trademarks – Apparel
               et al.                                                                                    County
               Purebred Company, Inc. v. Purebred Pet
42    2000                                                     98 D 2392     Trademarks – Pet Food       USDC, Colorado
               Products, Inc., et al.

               Gae Sharp Richardson, et al. v. The Boyds
43    2000                                                     C96-344       Copyrights – Doll Designs   USDC, Northern District of Iowa
               Collection, Ltd.

               Warrior and Ultimate Creations v. Titan                       Trademarks, Rights of       Arizona Superior Court, Maricopa
44    2000                                                     CV96-15377
               Sports, Inc., et al.                                          Publicity – Entertainment   County
     Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 26 of 86 Page ID #:7848



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Expert Work – No Deposition or Trial Testimony (2006 – Present)

      Year                    Case Name                           Case No.                     Issue                         Jurisdiction
                                                                                   Tra de Secrets - Toy              Ameri ca n Arbi tra ti on
1     2019      Make Ideas, LLC v. JAKKS Pa ci fi c, Inc.      01-18-0004-2676
                                                                                   Des i gns                         As s oci a ti on

                Ja l i ns ky Advi s ory Group, Inc. v. The                         Tra dema rks – Fi na nci a l      USDC, Ea s tern Di s tri ct of
2     2019                                                     2:18-cv-12161
                Hamo Group of Wells Fargo Advisors                                 Servi ces                         Mi chi ga n

                                                                                   Tra dema rks – Tra vel
3     2018      Ian V. Jacobs v. Fa rePorta l , Inc.           8:17-cv-00362                                         USDC, Di s tri ct of Nebra s ka
                                                                                   Servi ces

                Crown Indus tri a l Servi ces , Inc. v.                            Tra dema rks – Indus tri a l      USDC, Ea s tern Di s tri ct of
4     2018                                                     5:16-cv-13200
                Midbrook LLC, et al.                                               Equi pment                        Mi chi ga n
                ScienCell Research Laboratories, Inc. v.       37-2015-00041134    Tra de Secrets –                  Ca l i forni a Superi or Court,
5     2017
                Cel l Appl i ca ti ons , Inc., et a l .        CU                  Bi otechnol ogy                   Sa n Di ego County

                In re: Carroll Hall Shelby Trust – Roya l ty                       Tra dema rks – Auto Pa rts ,      Ca l i forni a Superi or Court,
6     2016                                                     BP 139686
                Al l oca ti on Hea ri ng                                           Ri ghts of Publ i ci ty           Los Angel es County
                Fumoto Giken Co. Ltd. v. Nori o
                                                                                                                     USDC, Centra l Di s tri ct of
7     2015      Mi ts uoka a nd Gl oba l Sa l es Group, et     2:14-cv-09797       Tra de Dres s – Tool s
                                                                                                                     Ca l i forni a
                al.
                Sa l es ForceOne, LLC v. salesforce.com,       3:15-cv-02174       Tra dema rks – CRM                USDC, Northern Di s tri ct of
8     2015
                inc.                                           WHO                 Softwa re                         Ca l i forni a
                Silberstein & Silberstein, LLC, et a l . v.    2:15-cv-09276 R     Tra dema rks – Ani ma ted         USDC, Centra l Di s tri ct of
9     2015
                Fox Enterta i nment Group, Inc., et a l        PLA                 Cha ra cters                      Ca l i forni a

                Li s a McConnel l , Inc. dba Ima ge One                            Copyri ghts – Commerci a l        USDC, Southern Di s tri ct of
10    2014                                                     3:12-cv-00840 JAH
                v. AT&T Advertising, L.P.                                          Ima ges                           Ca l i forni a

                John T. (“Tom”) Minemyer v. R-Boc                                  Pa tents – Fi ber Opti c          USDC, Northern Di s tri ct of
11    2014                                                     1:07-cv-01763
                Repres enta ti ves , Inc., et a l .                                Coupl ers                         Il l i noi s , Ea s tern Di vi s i on
                                                                                                                     USDC, Centra l Di s tri ct of
                                                                                   Tra dema rks – Adverti s i ng,
12    2014      Oculu, LLC v. Ocul us VR, Inc.                 8:14-cv-00196 DOC                                     Ca l i forni a , Southern
                                                                                   Vi rtua l Rea l i ty
                                                                                                                     Di vi s i on
                Campos Brothers Farms, et al. v.                                                                     USDC, Ea s tern Di s tri ct of
13    2014                                                     1:12-cv-00598 LJO   Tra dema rks - Agri cul ture
                Ca mpos Fa mi l y Fa rms , LLC                                                                       Ca l i forni a

                Raul Lizalde dba VEBS v. Adva nced                                 Copyri ghts , Tra de Secrets      USDC, Southern Di s tri ct of
14    2013                                                     3:10-cv-00834 GPC
                Pl a nni ng Servi ces , Inc., et a l .                             – Fi n. Servi ces                 Ca l i forni a
                                                                                                                     USDC, Centra l Di s tri ct of
                Preservation Technologies LLC v. Netfl i x,                        Pa tents – Vi deo
15    2013                                                     8:11-cv-01860 DOC                                     Ca l i forni a , Southern
                Inc. et a l .                                                      Compres s i on/Encrypti on
                                                                                                                     Di vi s i on
                Genera l Cha rl es E. Yea ger (Ret.) v.                            Ri ghts of Publ i ci ty, Lega l   Ca l i forni a Superi or Court,
16    2013                                                     34-2009-00057440
                Wild, Carter & Tipton, et al.                                      Ma l pra cti ce                   Sa cra mento County

                Chl oe SAS, et a l . v. Sawabeh                                    Tra dema rks – Appa rel ,         USDC, Centra l Di s tri ct of
17    2013                                                     2:11-cv-04147 GAF
                Information Services Co., et al.                                   Acces s ori es                    Ca l i forni a
                                                                                   Copyri ghts – Moti on
                Jayme Gordon v. Drea mWorks                                                                          USDC, Di s tri ct of
18    2013                                                     1:11-cv-10255       Pi ctures , Ani ma ted
                Ani ma ti on SKG, Inc., et a l .                                                                     Ma s s a chus etts
                                                                                   Cha ra cters
                Dtech Communications, LLC v. OSC               3:11-cv-01425       Copyri ghts , Tra de Secrets      USDC, Southern Di s tri ct of
19    2012
                Engi neeri ng, Inc., et a l .                  MMA                 – Textbooks , Tra i ni ng         Ca l i forni a
     Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 27 of 86 Page ID #:7849



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Expert Work – No Deposition or Trial Testimony (continued)

      Year                     Case Name                            Case No.                     Issue                      Jurisdiction
                                                                                                                     USDC, Ea s tern Di s tri ct of
20    2012      Erik B. Cherdak v. Curti s A. Vock, et a l .     1:11-cv-1311 LO     Pa tents - Footwea r            Vi rgi ni a , Al exa ndri a
                                                                                                                     Di vi s i on
                International Control Systems v. Bes t           Court No. T-1653-   Pa tents – Tel evi s i on
21    2012                                                                                                           Ca na da Federa l Court
                Buy Ca na da                                     11                  Control s

                International Control Systems v. Ha i er         Court No. T-1654-   Pa tents – Tel evi s i on
22    2012                                                                                                           Ca na da Federa l Court
                Ameri ca Tra di ng, et a l .                     11                  Control s

                Rock and Roll Religion, Inc. v. CELS                                                                 USDC, Centra l Di s tri ct of
23    2012                                                       2:09-cv-05258 R     Tra dema rks - Appa rel
                Enterpri s es , Inc., et a l .                                                                       Ca l i forni a

                Morocca noi l , Inc. v. Tony Conforti and                                                            USDC, Di s tri ct of New
24    2012                                                       2:11-cv-00136 KM    Tra dema rks - HABA
                Salon Distribution, Inc.                                                                             Jers ey

                Yel l ow Pa ges Photos , Inc. v. User-           8:10-cv-00436       Copyri ghts – Commerci a l      USDC, Mi ddl e Di s tri ct of
25    2011
                Friendly Phone Book, LLC, et al.                 VMC                 Ima ges                         Fl ori da , Ta mpa Di vi s i on
                Personalized Media Communications, LLC                               Pa tents – Vi deo               USDC, Ea s tern Di s tri ct of
26    2011                                                       2:08-cv-00070 CE
                v. Motorol a , Inc., et a l .                                        Compres s i on/Encrypti on      Texa s , Ma rs ha l l Di vi s i on

                Col by Ka ne v. Paige Mycoskie and                                                                   USDC, Centra l Di s tri ct of
27    2011                                                       10-cv-05144 DMG     Tra dema rks - Appa rel
                Aviator Nation, Inc.                                                                                 Ca l i forni a

                Compulink Management Center, Inc. dba                                Tra dema rks – Document         USDC, Centra l Di s tri ct of
28    2011                                                       2:10-cv-07843 JFW
                Laserfiche v. SAP Ameri ca , Inc., et a l .                          Ma na gement Softwa re          Ca l i forni a

                Mi l l er Interna ti ona l , Inc. v. Clinch      1:10-cv-01167       Tra dema rks – Appa rel ,
29    2010                                                                                                           USDC, Di s tri ct of Col ora do
                Gear, LLC                                        WDM                 Acces s ori es

                                                                                     Tra dema rks , Copyri ghts –    US Ba nkruptcy Court, New
30    2010      In re: Air America Media, LLC                    10-10615 JMP
                                                                                     Ra di o Broa dca s ts           York
                                                                                                                     Di s tri ct Court of
31    2009      Davis v. Da vi s                                 CI08-262            Copyri ghts - Mus i c           Wa s hi ngton County,
                                                                                                                     Nebra s ka
                Lawrence B. Lockwood, et al. v.                                      Pa tents – El ectroni c
                                                                                                                     USDC, Centra l Di s tri ct of
32    2009      Sheppa rd, Mul l i n, Ri chter &                 2:09-cv-05157 JFW   Commerce, Lega l
                                                                                                                     Ca l i forni a
                Ha mpton, LLP, et a l .                                              Ma l pra cti ce
                Curti s Ja mes Ja cks on, III pka “50                                Ri ghts of Publ i ci ty,        USDC, Southern Di s tri ct of
33    2009                                                       1:08-cv-06545 NRB
                Cent” v. Taco Bell Corp.                                             Tra dema rks                    New York

                Kri s ten Al i s on Ha l l v. Jennifer Nettles                                                       USDC, Northern Di s tri ct of
34    2009                                                       1:08-cv-02437 TCB   Tra dema rks – Mus i ca l Act
                and Kristian Bush (“Sugarland”)                                                                      Georgi a , Atl a nta Di vi s i on

                Ironwood Capital Ltd. v. Ironwood                                    Tra dema rks – Fi na nci a l    USDC, Di s tri ct of
35    2009                                                       3:07-cv-01624 CFD
                Ca pi ta l Ma na gement, et a l .                                    Servi ces                       Connecti cut

                                                                                     Tra dema rks , Pa tents ,       US Ba nkruptcy Court,
36    2009      In re: Washington Mutual, Inc., et al.           08-12229 MFW
                                                                                     Tra de Secrets                  Del a wa re

                UPAID Systems, Ltd. v. Sa tya m                                      Pa tents – El ectroni c         USDC, Ea s tern Di s tri ct of
37    2009                                                       2:07-cv-00114 CE
                Computer Servi ces , Ltd., et a l .                                  Pa yment Sys tems               Texa s , Ma rs ha l l Di vi s i on
                Ama nda Bea rd v. Ca l i forni a
                                                                                                                     Ca l i forni a Superi or Court,
38    2008      Sunbounce, et a l . (Defenda nt Samy’s           8C365578            Ri ghts of Publ i ci ty
                                                                                                                     Los Angel es County
                Camera wa s the cl i ent)
     Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 28 of 86 Page ID #:7850



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Expert Work – No Deposition or Trial Testimony (continued)

      Year                     Case Name                            Case No.                     Issue                       Jurisdiction
                                                                                                                      USDC, Wes tern Di s tri ct of
                                                                                     Tra de Secrets – Onl i ne
39    2008      Big Fish Games, Inc. v. i Wi n, Inc., et a l .   2:07-cv-00718 JCC                                    Wa s hi ngton, Sea ttl e
                                                                                     Ga mes
                                                                                                                      Di vi s i on
                Societe des Bains de Mer et du Cercle
                                                                                                                      USDC, Southern Di s tri ct of
40    2008      des Estrangers a Monaco v. Pl a ys ha re         1:07-cv-04802 DAB   Tra dema rks – Ga mi ng
                                                                                                                      New York
                PLC, et a l .
                Pittsburgh Home and Garden Show, Inc.                                Tra dema rks – Tel evi s i on    USDC, Wes tern Di s tri ct of
41    2008                                                       2:03-cv-01477 NBF
                v. Scri pps Networks , Inc., et a l .                                Shows                            Penns yl va ni a

                                                                                                                      USDC, Di s tri ct of New
42    2008      Medavante, Inc. v. Proxymed, Inc., et a l .      06-cv-03248 MLC     Tra dema rks – Hea l thca re
                                                                                                                      Jers ey

43    2008      In re: Rx GUARDIAN                               78630256            Tra dema rks – IC 042            USPTO, TTAB

                                                                                     Tra dema rks -                   ICC, Interna ti ona l Court of
44    2008      Pha rma Ba s e S.A. v. HVL Inc.                  14 433IEBS
                                                                                     Pha rma ceuti ca l s             Arbi tra ti on

                Blair McCaw, et al. v. CVS Pha rma cy,                               Li cens i ng – Brea ch of        Ameri ca n Arbi tra ti on
45    2008                                                       13 181 Y 00408 09
                Inc.                                                                 Contra ct                        As s oci a ti on

                Veri zon Ca l i forni a Inc., et a l . v.                            Tra dema rks , Doma i n          USDC, Centra l Di s tri ct of
46    2008                                                       2:07-cv-01732 PA
                Maltuzi LLC, et al.                                                  Na mes                           Ca l i forni a

                Louis Vuitton Malletier v. Dooney &                                  Tra dema rks – Lugga ge,         USDC, Southern Di s tri ct of
47    2007                                                       1:04-cv-02990 SAS
                Bourke, Inc.                                                         Acces s ori es                   New York
                Homelife Communities Group, Inc. v.                                  Tra dema rks – Rea l Es ta te,   USDC, Northern Di s tri ct of
48    2007                                                       1:06-cv-01607 CC
                Homel i fe Rea l ty Servi ces , Inc., et a l .                       Cons tructi on                   Georgi a , Atl a nta Di vi s i on

                Abbywho, Inc., et al. v. Inters cope                                 Tra dema rks – Mus i ca l        USDC, Centra l Di s tri ct of
49    2007                                                       06-cv-06724 MMM
                Records , et a l .                                                   Acts                             Ca l i forni a

                Hos pi ta l i ty Ventures , Group, Inc. v.                                                            USDC, Southern Di s tri ct of
50    2007                                                       9:05-cv-80389 KLR   Tra dema rks - Res ta ura nts
                Bonefish Grill, Inc.                                                                                  Fl ori da
                                                                                                                      US Ba nkruptcy Court,
                In re: Interstate Bakeries Corporation, et                           Tra dema rks , Copyri ghts –
51    2007                                                       04-45814                                             Wes tern Di s tri ct of
                al.                                                                  Ba kery Products
                                                                                                                      Mi s s ouri
                                                                                                                      USDC, Wes tern Di s tri ct of
                Ri cha rd Ba ch a nd Rus s el l Muns on v.
52    2006                                                       2:05-cv-00970 MJP   Copyri ghts - HABA               Wa s hi ngton, Sea ttl e
                Forever Living Products U.S., Inc., et al.
                                                                                                                      Di vi s i on
                                                                                     Copyri ghts , Tra dema rks –     USDC, Centra l Di s tri ct of
53    2006      MGA Entertainment, Inc. v. Ma ttel , Inc.        05-cv-02727 CBM
                                                                                     Dol l Des i gns , Toys           Ca l i forni a

                Kevin Trudeau v. El ectroni c Reta i l i ng                                                           Ca l i forni a Superi or Court,
54    2006                                                       236364              Ri ghts of Publ i ci ty
                As s oci a ti on, et a l .                                                                            Ventura County
                                                                                                                      Copyri ght Roya l ty Boa rd,
                Sa tel l i te Di gi ta l Audi o Ra di o
55    2006                                                       2006-1              Copyri ght Roya l ty Ra tes      Li bra ry of Congres s ,
                Servi ces Ra te Setti ng Ana l ys i s
                                                                                                                      Wa s hi ngton, D.C.
                                                                 72 194 01291 03     Copyri ghts – Exerci s e         Ameri ca n Arbi tra ti on
56    2006      Berger Kha n v. Terence Dunn
                                                                 MDS 1               Vi deos                          As s oci a ti on - Sa n Di ego
Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 29 of 86 Page ID #:7851




        TRIAL EXHIBIT NO. 2
                    Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 30 of 86 Page ID #:7852
                             Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.}


      Year   2016

                                                  Values




CONFIDENTIAL -ATTORNEYS EYES ONLY                                                                                       TCI_00022753
                    Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 31 of 86 Page ID #:7853
                             Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.}




CONFIDENTIAL -ATTORNEYS EYES ONLY                                                                                       TCI_00022754
                    Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 32 of 86 Page ID #:7854
                             Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.}




CONFIDENTIAL -ATTORNEYS EYES ONLY                                                                                       TCI_00022755
                    Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 33 of 86 Page ID #:7855
                             Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.}




CONFIDENTIAL -ATTORNEYS EYES ONLY                                                                                       TCI_00022756
                    Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 34 of 86 Page ID #:7856
                             Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.}




CONFIDENTIAL -ATTORNEYS EYES ONLY                                                                                       TCI_00022757
                    Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 35 of 86 Page ID #:7857
                             Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.}




CONFIDENTIAL -ATTORNEYS EYES ONLY                                                                                       TCI_00022758
                    Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 36 of 86 Page ID #:7858
                             Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.}




CONFIDENTIAL -ATTORNEYS EYES ONLY                                                                                       TCI_00022759
                    Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 37 of 86 Page ID #:7859
                             Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.}




CONFIDENTIAL -ATTORNEYS EYES ONLY                                                                                       TCI_00022760
                    Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 38 of 86 Page ID #:7860
                             Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.}




CONFIDENTIAL -ATTORNEYS EYES ONLY                                                                                       TCI_00022761
                    Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 39 of 86 Page ID #:7861
                             Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.}




CONFIDENTIAL -ATTORNEYS EYES ONLY                                                                                       TCI_00022762
                    Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 40 of 86 Page ID #:7862
                             Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.}




CONFIDENTIAL -ATTORNEYS EYES ONLY                                                                                       TCI_00022763
                    Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 41 of 86 Page ID #:7863
                             Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.}




CONFIDENTIAL -ATTORNEYS EYES ONLY                                                                                       TCI_00022764
                    Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 42 of 86 Page ID #:7864
                             Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.}




CONFIDENTIAL -ATTORNEYS EYES ONLY                                                                                       TCI_00022765
                    Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 43 of 86 Page ID #:7865
                             Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.}




CONFIDENTIAL -ATTORNEYS EYES ONLY                                                                                       TCI_00022766
                    Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 44 of 86 Page ID #:7866
                             Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.}




CONFIDENTIAL -ATTORNEYS EYES ONLY                                                                                       TCI_00022767
Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 45 of 86 Page ID #:7867




        TRIAL EXHIBIT NO. 4
                                 Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 46 of 86 Page ID #:7868
                                                Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 {C.D. Cal.)

Product                                                       Variant                                                First Sale    Price      Channel
Jackie Faux Lashes™                                           Jackie                                                   9/11/2014   $       26 thrivecausemetics.com online store
Robin Faux lashes™                                            Robin                                                    9/12/2014   $       26 thrivecausemetics.com online store
Kristy Faux Lashes™                                           Kristy                                                   9/17/2014   $       26 thrivecausemetics.com online store
give2give                                                     Faux Lashes+ Adhesive/ Robin                             12/2/2014   $       28 thrivecausemetics.com online store
give2give                                                     Faux Lashes+ Adhesive/ Jackie                             1/3/2015   $       28 thrivecausemetics.com online store
Infinity Waterproof Eyeliner™                                 Lauren (Black Matte)                                     5/13/2015   $       22 thrivecausemetics.com online store
Infinity Waterproof Eyeliner™                                 Ella (Brown Matte)                                       5/14/2015   $       22 thrivecausemetics.com online store
Infinity Waterproof Eyeliner™                                 Hoda (Slate Grey Matte)                                  5/14/2015   $       22 thrivecausemetics.com online store
Infinity Waterproof Eyeliner™                                 Talia {Navy Matte)                                       5/14/2015   $       22 thrivecausemetics.com online store
Infinity Waterproof Eyeliner™                                 Giuliana (Plum Shimmer)                                  5/25/2015   $       22 thrivecausemetics.com online store
Infinity Waterproof Eyebrow Liner™                            Audrey {Dark Blonde - Medium Brunette)                    6/5/2015   $       23 thrivecausemetics.com online store
Infinity Waterproof Eyebrow Liner™                            Christina {Light - Dark Blonde)                           6/5/2015   $       23 thrivecausemetics.com online store
give2give                                                     Eyeliner/ Ella (brown matte)                              7/9/2015   $       28 thrivecausemetics.com online store
give2give                                                     Eyeliner/ Giuliana (plum shimmer)                         7/9/2015   $       28 thrivecausemetics.com online store
give2give                                                     Eyeliner/ Hoda (slate grey matte)                         7/9/2015   $       28 thrivecausemetics.com online store
give2give                                                     Eyeliner/ Talia (navy matte)                              7/9/2015   $       28 thrivecausemetics.com online store
give2give                                                     Faux Lashes+ Adhesive/ Kristy                             7/9/2015   $       28 thrivecausemetics.com online store
give2give                                                     Adhesive/ Infinity Lash Adhesive                         7/11/2015   $       28 thrivecausemetics.com online store
Triple Threat Color Stick™                                    Joy (Gold Shimmer)                                       4/18/2016   $       36 thrivecausemetics.com online store
Triple Threat Color Stick™                                    Dionne (Brick Red Shimmer)                               4/20/2016   $       36 thrivecausemetics.com online store
Triple Threat Color Stick™                                    Maggie {Rose Shimmer)                                    4/20/2016   $       36 thrivecausemetics.com online store
Triple Threat Color Stick™                                    Olivia (Coral Shimmer)                                   4/20/2016   $       36 thrivecausemetics.com online store
Infinity Waterproof Eyeliner™                                 Na lie (Chocolate Brown Shimmer)                          7/6/2016   $       22 thrivecausemetics.com online store
Glossy Lip Mark™                                              JoAnn {Plum Mauve)                                       8/24/2016   $       26 thrivecausemetics.com online store
Glossy Lip Mark™                                              Misty (Coral)                                            8/24/2016   $       26 thrivecausemetics.com online store
Glossy Lip Mark™                                              Narima {Dark Berry)                                      8/24/2016   $       26 thrivecausemetics.com online store
Glossy Lip Mark™                                              Jean (Baby Pink Shimmer)                                 8/26/2016   $       26 thrivecausemetics.com online store
Glossy Lip Mark™                                              Pamela {Brown Mauve)                                     8/26/2016   $       26 thrivecausemetics.com online store
Glossy Lip Mark™                                              Ruth (Taupe Shimmer)                                     8/26/2016   $       26 thrivecausemetics.com online store
Glossy Lip Mark™                                              Taylor (Bright Red)                                      8/30/2016   $       26 thrivecausemetics.com online store
Focus Eyeshadow Palette™                                      Palette 2                                                9/15/2016   $       36 thrivecausemetics.com online store
Glossy Lip Mark™                                              Karlie (Bright Raspberry)                                9/20/2016   $       26 thrivecausemetics.com online store
Glossy Lip Mark™                                              Maya (Deep Blue Red)                                     9/20/2016   $       26 thrivecausemetics.com online store
Focus Eyeshadow Palette™                                      Palette 1                                                9/24/2016   $       36 thrivecausemetics.com online store
Brilliant Eye Brightener™                                     Stella (Champagne Shimmer)                              10/31/2016   $       24 thrivecausemetics.com online store
Elastic Hair Tie Trio+ Custom Thrive Magnets                  Hair Tie Trio+ Magnets                                    1/3/2017   $       15 thrivecausemetics.com online store
Custom Thrive Magnet                                          Multicolored                                             1/15/2017   $        3 thrivecausemetics.com online store
Custom Thrive Magnet                                          Turquoise                                                1/15/2017   $        3 thrivecausemetics.com online store
Infinity Waterproof Eyebrow Liner™                            Serena (Dark Brunette - Black)                           2/28/2017   $       23 thrivecausemetics.com online store
Cosmo Power Multi-Dimensional Strobing Blush™                 Angelina {Golden Brick Shimmer)                          3/14/2017   $       34 thrivecausemetics.com online store
Cosmo Power Multi-Dimensional Strobing Blush™                 Rosie (Copper Rose Shimmer)                              3/14/2017   $       34 thrivecausemetics.com online store




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Product                                                      Variant                                                First Sale    Price        Channel
Sun Chaser Blur+ Sculpt Bronzing Powder™                     Eos (Satin)                                              3/14/2017   $       33 thrivecausemetics.com online store
Sun Chaser Blur+ Sculpt Bronzing Powder™                     Rhea (Matte)                                             3/14/2017   $       33 thrivecausemetics.com online store
Lip Mate High-Shine Reviving Topper™                         Glinda (Rose Gold Shimmer)                               4/12/2017   $       24 thrivecausemetics.com online store
Blending is my Cardio T-Shirt in Extra Small                 Extra Large                                               5/9/2017   $       20 thrivecausemetics.com online store
Blending is my Cardio T-Shirt in Extra Small                 Extra Small                                               5/9/2017   $       20 thrivecausemetics.com online store
Blending is my Cardio T-Shirt in Extra Small                 Large                                                     5/9/2017   $       20 thrivecausemetics.com online store
Liquid Lash Extensions Mascara™                              Brynn (Rich Black)                                       5/10/2017   $       24   thrivecausemetics.com online store
Blending is my Cardio T-Shirt in Extra Small                 Medium                                                   5/13/2017   $       20   thrivecausemetics.com online store
Brilliant Eye Brightener™                                    Aurora (Rose Gold Shimmer)                               5/30/2017   $       24   thrivecausemetics.com online store
Infinity Waterproof Eyeliner™                                Lizzie (Moss Green Matte)                                6/14/2017   $       22   thrivecausemetics.com online store
Blending is my Cardio T-Shirt in Extra Small                 Small                                                     7/1/2017   $       20 thrivecausemetics.com online store
Perfect Eye Palette Warm Neutrals™                           Warm Neutrals                                            7/20/2017   $       45 thrivecausemetics.com online store
Matte Legacy Liquid Lipstick™                                Aspen (Deep Cranberry)                                   8/10/2017   $       22 thrivecausemetics.com online store
Matte Legacy Liquid Lipstick™                                Chihiro (Dusty Rose Mauve)                               8/10/2017   $       22 thrivecausemetics.com online store
Matte Legacy Liquid Lipstick™                                Dayle (Warm Rose Mauve)                                  8/10/2017   $       22 thrivecausemetics.com online store
Matte Legacy Liquid Lipstick™                                Kaisa (Blush Mauve)                                      8/10/2017   $       22 thrivecausemetics.com online store
Matte Legacy Liquid Lipstick™                                Maureen (Plum Mauve)                                     8/10/2017   $       22 thrivecausemetics.com online store
Matte Legacy Liquid Lipstick™                                Meghan (Muted Taupe)                                     8/10/2017   $       22 thrivecausemetics.com online store
Matte Legacy Liquid Lipstick™                                Paige (Deep Raspberry)                                   8/10/2017   $       22 thrivecausemetics.com online store
Matte Legacy Liquid Lipstick™                                Rowan (Plum Rose Mauve)                                  8/10/2017   $       22 thrivecausemetics.com online store
Cosmo Power 3D Strobing Highlighter™                         Dawn (Rose Gold Shimmer)                                 8/29/2017   $       34 thrivecausemetics.com online store
Cosmo Power 3D Strobing Highlighter™                         Liberty (Pale Gold Shimmer)                              8/29/2017   $       34 thrivecausemetics.com online store
Water Bottle                                                 Makeup Spill                                              9/6/2017   $       27   thrivecausemetics.com online store
Water Bottle                                                 Quote                                                     9/6/2017   $       27   thrivecausemetics.com online store
Headliner Lipstick™                                          Alyse (Black Cherry)                                     9/19/2017   $       26   thrivecausemetics.com online store
Headliner Lipstick™                                          Aquila (Warm Rose Mauve)                                 9/19/2017   $       26   thrivecausemetics.com online store
Headliner Lipstick™                                          Bizzy (Dusty Rose)                                       9/19/2017   $       26   thrivecausemetics.com online store
Headliner Lipstick™                                          Emii (Plum Mauve)                                        9/19/2017   $       26   thrivecausemetics.com online store
Headliner Lipstick™                                          Ilene (Pink Taupe)                                       9/19/2017   $       26   thrivecausemetics.com online store
Headliner Lipstick™                                          Kennedy (Blue Red)                                       9/19/2017   $       26   thrivecausemetics.com online store
Headliner Lipstick™                                          Stephanie (True Beige)                                   9/19/2017   $       26   thrivecausemetics.com online store
She Believed iPhone Case                                     iPhone 7 and 8                                          11/10/2017   $       15   thrivecausemetics.com online store
Be Bold iPhone Case                                          iPhone 7 Plus and 8 Plus                                11/11/2017   $       15   thrivecausemetics.com online store
She Believed iPhone Case                                     iPhone 7 Plus and 8 Plus                                11/13/2017   $       15   thrivecausemetics.com online store
Precision Crease-Defining Eyeshadow Brush™                   Precision Crease-Defining Eyeshadow Brush               11/29/2017   $       20   thrivecausemetics.com online store
Diffusing Angled Bronzer Brush™                              Diffusing Angled Bronzer Brush                          11/30/2017   $       28   thrivecausemetics.com online store
Diffusing Round Highlighter Brush™                           Diffusing Round Highlighter Brush                       11/30/2017   $       24 thrivecausemetics.com online store
Precision All-Over Eyeshadow Brush™                          Precision All-Over Eyeshadow Brush                      11/30/2017   $       22 thrivecausemetics.com online store
Precision Angled Eyeliner Brush™                             Precision Angled Eyeliner Brush                         11/30/2017   $       16 thrivecausemetics.com online store
Precision Lid-Defining Eyeshadow Brush™                      Precision Lid-Defining Eyeshadow Brush                  11/30/2017   $       20 thrivecausemetics.com online store
Precision Smudge Eyeliner Brush™                             Precision Smudge Eyeliner Brush                         11/30/2017   $       18 thrivecausemetics.com online store



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Product                                                        Variant                                                First Sale    Price      Channel
She Believed iPhone Case                                       iPhone X                                                 12/1/2017   $       15 thrivecausemetics.com online store
Thrive Causemetics Makeup Clutch                               BAG                                                      12/2/2017   $        7 thrivecausemetics.com online store
Thrive Causemetics Makeup Clutch                               GIFT                                                     12/2/2017   $        7 thrivecausemetics.com online store
Be Bold iPhone Case                                            iPhone 7 and 8                                          12/13/2017   $       15 thrivecausemetics.com online store
Be Bold iPhone Case                                            iPhone X                                                  2/4/2018   $       15 thrivecausemetics.com online store
Lash Upgrade Lash Curler™                                      Lash Upgrade Lash Curler                                 2/21/2018   $       20 thrivecausemetics.com online store
Infinity Waterproof Liquid Eyeliner™                           Lauren (Black Demi-Shine)                                3/18/2018   $       24 thrivecausemetics.com online store
Mascara Spill Bag                                              GIFT                                                      4/9/2018   $        4 thrivecausemetics.com online store
Lip Filler Long Wearing+ Plumping Lip Liner™                   Devin (Black Cherry)                                     4/21/2018   $       20 thrivecausemetics.com online store
Lip Filler Long Wearing+ Plumping Lip Liner™                   Em (Pink Blush)                                          4/21/2018   $       20 thrivecausemetics.com online store
Lip Filler Long Wearing+ Plumping Lip Liner™                   Ghizlan (Plum Mauve)                                     4/21/2018   $       20 thrivecausemetics.com online store
Lip Filler Long Wearing+ Plumping Lip Liner™                   Jesse (Pale Rose Ginger)                                 4/24/2018   $       20 thrivecausemetics.com online store
Lip Filler Long Wearing+ Plumping Lip Liner™                   Valisia (Pomegranate)                                    4/24/2018   $       20 thrivecausemetics.com online store
Mascara Spill Bag                                              BAG                                                       5/6/2018   $        4 thrivecausemetics.com online store
Eye Cream                                                      Default Title                                             6/5/2018   $       23 thrivecausemetics.com online store
Pink Floral Makeup Bag                                         BAG                                                       7/5/2018   $        4 thrivecausemetics.com online store
Pink Floral Makeup Bag                                         GIFT                                                      7/5/2018   $        4 thrivecausemetics.com online store
Deluxe Mini Liquid Lash Extensions Mascara™                    Brynn {Rich Black)                                       7/16/2018   $       12 thrivecausemetics.com online store
Pink+ Powerful Makeup Clutch                                   Pink Polka Dot Makeup Bag                                7/18/2018   $       20 thrivecausemetics.com online store
Glossy Lip Hydrating Serum™                                    Ruth {Taupe Shimmer)                                     7/25/2018   $       26 thrivecausemetics.com online store
Blend+ Blur Sponge™                                            Blend+ Blur Sponge™                                      7/31/2018   $       18 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Beige {Neutral Undertones)                               7/31/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Beige Golden {Neutral Undertones)                        7/31/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Fair {Cool Undertones)                                   7/31/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Fair Light (Neutral Undertones)                          7/31/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Golden (Neutral Undertones)                              7/31/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Light (Neutral Undertones)                               7/31/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Light Medium (Warm Undertones)                           7/31/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Medium {Cool Undertones)                                 7/31/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Medium Beige (Neutral Undertones)                        7/31/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Natural Beige {Neutral Undertones)                       7/31/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Rich {Warm Undertones)                                   7/31/2018   $       36 thrivecausemetics.com online store
Hustle+ Glow Makeup Clutch                                     GIFT                                                     7/31/2018   $       10 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Cocoa (Neutral Undertones)                                8/1/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Deep Cocoa {Neutral Undertones)                           8/1/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Deep Espresso (Warm Undertones)                           8/1/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Golden Tan (Warm Undertones)                              8/1/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Rich Cocoa {Neutral Undertones)                           8/1/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Rich Tan (Cool Undertones)                                8/1/2018   $       36 thrivecausemetics.com online store
Buildable Blur CC Cream™ Broad Spectrum SPF 35                 Tan {Warm Undertones)                                     8/1/2018   $       36 thrivecausemetics.com online store
Filtered Effects™ Soft Focus HD Setting Powder                 Translucent                                               8/2/2018   $       18 thrivecausemetics.com online store



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Product                                                      Variant                                                First Sale    Price        Channel
Glossy Lip Hydrating Serum™                                  JoAnn (Plum Mauve)                                       8/15/2018   $       26 thrivecausemetics.com online store
Glossy Lip Hydrating Serum™                                  Jean (Baby Pink Shimmer)                                 8/20/2018   $       26 thrivecausemetics.com online store
Glossy Lip Hydrating Serum™                                  Maya (Deep Blue Red)                                     8/20/2018   $       26 thrivecausemetics.com online store
Glossy Lip Hydrating Serum™                                  Misty (Coral)                                            8/20/2018   $       26 thrivecausemetics.com online store
Glossy Lip Hydrating Serum™                                  Narima (Dark Berry)                                      8/20/2018   $       26 thrivecausemetics.com online store
Glossy Lip Hydrating Serum™                                  Pamela (Brown Mauve)                                     8/20/2018   $       26 thrivecausemetics.com online store
Filtered Effects™ All-Over Face Brush                        Large                                                    8/21/2018   $       16 thrivecausemetics.com online store
Glossy Lip Hydrating Serum™                                  Karlie (Bright Raspberry)                                8/21/2018   $       26 thrivecausemetics.com online store
Focus Eyeshadow Palette™                                     Palette 3                                                 9/5/2018   $       36 thrivecausemetics.com online store
Overnight Sensation Brightening Sleep Mask™                  Overnight Sensation Brightening Sleep Mask               10/9/2018   $       62 thrivecausemetics.com online store
Star Pattern Makeup Bag                                      BAG                                                     11/16/2018   $        4 thrivecausemetics.com online store
Star Pattern Makeup Bag                                      GIFT                                                    11/16/2018   $        4 thrivecausemetics.com online store
Hustle+ Glow Makeup Clutch                                   BAG                                                     11/25/2018   $       10 thrivecausemetics.com online store
Instant Brow Fix Semi-Permanent Eyebrow Gel™                 Audrey (Dark Blonde - Medium Brunette)                   1/15/2019   $       18 thrivecausemetics.com online store
Instant Brow Fix Semi-Permanent Eyebrow Gel™                 Christina (Light - Dark Blonde)                          1/15/2019   $       18 thrivecausemetics.com online store
Instant Brow Fix Semi-Permanent Eyebrow Gel™                 Serena (Dark Brunette - Black)                           1/15/2019   $       18 thrivecausemetics.com online store
Joy Is The Best Makeup Bag                                   GIFT                                                      3/6/2019   $        4 thrivecausemetics.com online store
Diffusing Dome Blush Brush™                                  Diffusing Dome Blush Brush™                              3/11/2019   $       25 thrivecausemetics.com online store
Joy Is The Best Makeup Bag                                   BAG                                                      3/15/2019   $        4 thrivecausemetics.com online store
Lip Mate High-Shine Reviving Topper™                         Charlotte (Mauve Shimmer)                                4/16/2019   $       24 thrivecausemetics.com online store
Lip Mate High-Shine Reviving Topper™                         Ashley (Crystal Shimmer)                                 4/17/2019   $       24 thrivecausemetics.com online store
Infinity Waterproof Lash Adhesive™                           Infinity Lash Adhesive                                   4/19/2019   $       16 thrivecausemetics.com online store
Lip Mate High-Shine Reviving Topper™                         Effie (Pink Shimmer)                                     4/29/2019   $       24 thrivecausemetics.com online store
Blossom+ Shine Makeup Bag                                    GIFT                                                      6/9/2019   $        4   thrivecausemetics.com online store
Blossom+ Shine Makeup Bag                                    BAG                                                      6/10/2019   $        4   thrivecausemetics.com online store
Brilliant Eye Brightener™                                    Emma (Copper Shimmer)                                    6/25/2019   $       24   thrivecausemetics.com online store
Brilliant Eye Brightener™                                    Mieko (Soft Pink Shimmer)                                6/25/2019   $       24   thrivecausemetics.com online store
Brush Hero Brush Cleansing Pad™                              Brush Hero™ Brush Cleansing Pad                          7/31/2019   $       18 thrivecausemetics.com online store
Lip Filler Long Wearing+ Plumping Lip Liner™                 Kackie (Mocha)                                            9/3/2019   $       20 thrivecausemetics.com online store
Lip Filler Long Wearing+ Plumping Lip Liner™                 Maya (Deep Blue Red)                                     9/17/2019   $       20 thrivecausemetics.com online store
Lip Filler Long Wearing+ Plumping Lip liner™                 Ruth (Peach Taupe)                                       9/17/2019   $       20 thrivecausemetics.com online store
She's a Hero Makeup Bag                                      GIFT                                                     9/18/2019   $        4 thrivecausemetics.com online store
She's a Hero Makeup Bag                                      BAG                                                      9/20/2019   $        4 thrivecausemetics.com online store
Be You Makeup Bag                                            GIFT                                                    10/23/2019   $        4 thrivecausemetics.com online store
Eye Lift 360° Waterproof Primer™                             Translucent Matte                                        11/5/2019   $       24 thrivecausemetics.com online store
Perfectly Primed Makeup Bag                                  GIFT                                                     11/5/2019   $        4 thrivecausemetics.com online store
Perfectly Primed Makeup Bag                                  BAG                                                      11/6/2019   $        4 thrivecausemetics.com online store
Overnight Sensation Brightening Sleep Mask™                  Overnight Sensation Brightening Sleep Mask™ V2          11/13/2019   $       62 thrivecausemetics.com online store
Be You Makeup Bag                                            BAG                                                     11/22/2019   $        4 thrivecausemetics.com online store
Liquid Balm Lip Treatment™                                   liquid Balm lip Treatment™                               12/3/2019   $       26 thrivecausemetics.com online store
You're A Diamond Makeup Bag                                  GIFT                                                    12/29/2019   $        4 thrivecausemetics.com online store



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Product                                                        Variant                                                   First Sale    Price      Channel
You're A Diamond Makeup Bag                                    BAG                                                        12/31/2019   $        4 thrivecausemetics.com online store
Bright Balance 3-in-1 Cleanser™                                Bright Balance 3-in-1 Cleanser™                              1/7/2020   $       32 thrivecausemetics.com online store
Defying Gravity Transforming Moisturizer™                      Defying Gravity Transforming Moisturizer™                   1/14/2020   $       49 thrivecausemetics.com online store
give2give                                                      Faux Lashes/ Robin                                          1/28/2020   $       28 thrivecausemetics.com online store
Filtered Effects™ All-Over Face Brush                          Filtered Effects All-Over Face Brush™                        2/2/2020   $       16 thrivecausemetics.com online store
Glow Getter Makeup Bag                                         GIFT                                                        2/27/2020   $        4 thrivecausemetics.com online store
Glow Getter Makeup Bag                                         BAG                                                         2/28/2020   $        4 thrivecausemetics.com online store
Defying Gravity Eye Lifting Cream™                             Defying Gravity Eye Lifting Cream™                           3/3/2020   $       23 thrivecausemetics.com online store
Liquid Lash Extensions Mascara™                                Crystal (Brown Black)                                        3/8/2020   $       24 thrivecausemetics.com online store
Diffusing Angled Bronzer Brush™                                Diffusing Angled Bronzer Brush™                              3/9/2020   $       28 thrivecausemetics.com online store
Empowered Women Makeup Bag                                     GIFT                                                        3/31/2020   $        4 thrivecausemetics.com online store
Liquid Light Therapy All-in-One Face Serum™                    Liquid Light Therapy Face Serum™                             4/7/2020   $       59 thrivecausemetics.com online store
Empowered Women Makeup Bag                                     BAG                                                          4/9/2020   $        4 thrivecausemetics.com online store
Triple Threat Color Stick™                                     Olivia (Peachy Pink Shimmer)                                5/11/2020   $       36 thrivecausemetics.com online store
Moisture Flash Active Nutrient Toner™                          Moisture Flash Active Nutrient Toner™                       5/19/2020   $       36 thrivecausemetics.com online store
Filtered Effects™ Blurring Primer                              Filtered Effects Blurring Primer™                           6/23/2020   $       35 thrivecausemetics.com online store
Hello Sunshine Makeup Bag                                      GIFT                                                        6/26/2020   $        4 thrivecausemetics.com online store
Hello Sunshine Makeup Bag                                      BAG                                                         6/29/2020   $        4 thrivecausemetics.com online store
Lip Filler Long-Wearing+ Plumping Lip Liner™                   Devin (Black Cherry)                                         7/6/2020   $       20 thrivecausemetics.com online store
Lip Filler Long-Wearing+ Plumping Lip Liner™                   Em (Pink Blush)                                              7/6/2020   $       20 thrivecausemetics.com online store
Lip Filler Long-Wearing+ Plumping Lip Liner™                   Ghizlan {Plum Mauve)                                         7/6/2020   $       20 thrivecausemetics.com online store
Lip Filler Long-Wearing+ Plumping Lip Liner™                   Jesse (Pale Rose Ginger)                                     7/6/2020   $       20 thrivecausemetics.com online store
Lip Filler Long-Wearing+ Plumping Lip liner™                   Kackie {Mocha)                                               7/6/2020   $       20 thrivecausemetics.com online store
Lip Filler Long-Wearing+ Plumping Lip liner™                   Maya {Deep Blue Red)                                         7/6/2020   $       20 thrivecausemetics.com online store
Lip Filler Long-Wearing+ Plumping Lip Liner™                   Ruth (Peach Taupe)                                           7/6/2020   $       20 thrivecausemetics.com online store
Lip Filler Long-Wearing+ Plumping Lip Liner™                   Valisia (Pomegranate)                                        7/6/2020   $       20 thrivecausemetics.com online store
Deluxe Travel Bright Balance 3-in-1 Cleanser™                  Deluxe Travel Bright Balance 3-in-1 Cleanser™               7/10/2020   $       14 thrivecausemetics.com online store
Deluxe Travel Defying Gravity Transforming Moisturizer™        Deluxe Travel Defying Gravity Transforming Moisturizer™     7/10/2020   $       18 thrivecausemetics.com online store
Brilliant Face Brightener Illuminating Primer™                 Brilliant Face Brightener Illuminating Primer™              7/18/2020   $       35 thrivecausemetics.com online store
Cue the Confetti Makeup Bag                                    GIFT                                                        7/31/2020   $        4 thrivecausemetics.com online store
Brilliant Eye Brightener™                                      Estrella (White Pearl Shimmer)                               8/4/2020   $       24 thrivecausemetics.com online store
Brilliant Eye Brightener™                                      Gia (Warm Gold Shimmer)                                      8/4/2020   $       24 thrivecausemetics.com online store
Brilliant Eye Brightener™                                      Muna {Mauve Taupe Shimmer)                                   8/4/2020   $       24 thrivecausemetics.com online store
Moisture-Enriched Hand Sanitizer                               Default Title                                                8/7/2020   $        3 thrivecausemetics.com online store
Triple Threat Color Stick™                                     Isabella                                                    8/16/2020   $       36 thrivecausemetics.com online store
Make Waves Makeup Bag                                          GIFT                                                        8/21/2020   $        4 thrivecausemetics.com online store
Make Waves Makeup Bag                                          BAG                                                         8/22/2020   $        4 thrivecausemetics.com online store
Triple Threat Color Stick™                                     Isabella (Coral Golden Shimmer)                              9/1/2020   $       36 thrivecausemetics.com online store
Triple Threat Color Stick™                                     Mieko (Soft Pink Shimmer)                                    9/1/2020   $       36 thrivecausemetics.com online store
Triple Threat Color Stick™                                     Tessa (Berry Matte)                                          9/1/2020   $       36 thrivecausemetics.com online store
Fall In love With Yourself Makeup Bag                          GIFT                                                         9/8/2020   $        4 thrivecausemetics.com online store



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Product                                                          Variant                                                    First Sale    Price            Channel
Fall In love With Yourself Makeup Bag                            BAG                                                           9/9/2020   $            4 thrivecausemetics.com online store
Pumpkin Spice latte Liquid Balm Lip Treatment™                   Pumpkin Spice latte Liquid Balm Lip Treatment™               9/15/2020   $           26 thrivecausemetics.com online store
INTL Liquid Lash Extensions Mascara™                             Default Title                                                9/26/2020   $           24 thrivecausemetics.com online store
Defying Gravity Nourishing Hand+ Nail Cream™                     Defying Gravity Nourishing Hand+ Nail Cream™                10/19/2020   $            9 thrivecausemetics.com online store
Fearlessly Authentic Makeup Bag                                  GIFT                                                        10/30/2020   $            4 thrivecausemetics.com online store
Fearlessly Authentic Makeup Bag                                  BAG                                                          11/2/2020   $            4 thrivecausemetics.com online store
Overnight Sensation™ Gentle Resurfacing Peel                     Overnight Sensation Gentle Resurfacing Peel                 11/10/2020   $           31 thrivecausemetics.com online store
Own Your Magic Makeup Bag                                        BAG                                                          12/9/2020   $            4 thrivecausemetics.com online store
Own Your Magic Makeup Bag                                        GIFT                                                         12/9/2020   $            4 thrivecausemetics.com online store
Overnight Sensation Brightening Sleep Mask™ SMALL WEIGHT         Overnight Sensation Brightening Sleep Mask™ SMALL WEIGHT    12/22/2020   $           38 thrivecausemetics.com online store
Overnight Sensation Brightening Sleep Mask™ 1.7 oz               Overnight Sensation Brightening Sleep Mask™                 12/28/2020   $           38 thrivecausemetics.com online store
Skincare First Makeup Bag                                        GIFT                                                          1/1/2021   $            4 thrivecausemetics.com online store
Overnight Sensation Brightening Sleep Mask™ 3.4oz                Overnight Sensation Brightening Sleep Mask                    1/3/2021   $           62 thrivecausemetics.com online store
Skincare First Makeup Bag                                        BAG                                                           1/3/2021   $            4 thrivecausemetics.com online store
Overnight Sensation Brightening Sleep Mask™                      Overnight Sensation Brightening Sleep Mask™                   1/5/2021   $           38 thrivecausemetics.com online store
Dare to Shine Makeup Bag                                         GIFT                                                         1/15/2021   $            4 thrivecausemetics.com online store
Sun Chaser Blur+ Sculpt Bronzing Powder™                         Camila (Tan Neutral)                                         1/26/2021   $           33 thrivecausemetics.com online store
Sun Chaser Blur+ Sculpt Bronzing Powder™                         Paloma (Medium Neutral)                                      1/26/2021   $           33 thrivecausemetics.com online store
Sun Chaser Blur+ Sculpt Bronzing Powder™                         Milan (Deep Warm)                                            1/27/2021   $           33 thrivecausemetics.com online store
Dare to Shine Makeup Bag                                         BAG                                                          1/30/2021   $            4 thrivecausemetics.com online store
Sun Chaser Blur+ Sculpt Bronzing Powder™                         Rhea (Light Golden)                                           2/9/2021   $           33 thrivecausemetics.com online store
Brilliant Eye Brightener™                                        Racquel (Soft Silver Shimmer)                                2/12/2021   $           24 thrivecausemetics.com online store
Brilliant Eye Brightener™                                        Tara (Rose Mauve Shimmer)                                    2/12/2021   $           24 thrivecausemetics.com online store
Smart Microdermabrasion 2-in-1 Instant Facial™                   Smart Microdermabrasion 2-in-1 Instant Facial™               2/16/2021   $           44 thrivecausemetics.com online store
INTL Brilliant Eye Brightener™                                   Stella (Champagne Shimmer)                                   2/22/2021   $       -        thrivecausemetics.com online store
Filtered Effects™ All-Over Face Brush                            Filtered Effects™ All-Over Face Brush                        2/28/2021   $           66 thrivecausemetics.com online store
Deluxe Travel Defying Gravity Eye Lifting Cream™                 Defying Gravity Eye Lifting Cream™                            3/1/2021   $           10 thrivecausemetics.com online store
Cue the Confetti Makeup Bag                                      BAG                                                           3/5/2021   $            4 thrivecausemetics.com online store
Brilliant Eye Brightener™                                        Pili (Cool Gold Shimmer)                                     3/16/2021   $           24 thrivecausemetics.com online store
Filtered Effects™ Blurring Primer                                Filtered Effects™ Blurring Primer                            3/19/2021   $           35 thrivecausemetics.com online store
Brilliant Eye Brightener™                                        Anise (Warm Bronze Shimmer)                                  3/23/2021   $           24   thrivecausemetics.com online store
Brilliant Eye Brightener™                                        Callie (Greige Taupe Shimmer)                                3/23/2021   $           24   thrivecausemetics.com online store
Enjoy the Journey Makeup Bag                                     GIFT BAG                                                     3/25/2021   $            4   thrivecausemetics.com online store
Enjoy the Journey Makeup Bag                                     BAG                                                          3/26/2021   $            4   thrivecausemetics.com online store




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        TRIAL EXHIBIT NO. 38
                    Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 53 of 86 Page ID #:7875
                                      Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 {C.D. Cal.)




CONFIDENTIAL -ATTORNEYS EYES ONLY                                                                                                TCI_00030182
                    Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 54 of 86 Page ID #:7876
                                    Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. l:20-cv-9091 (C.D. Cal.)




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                    Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 55 of 86 Page ID #:7877
                                    Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. l:20-cv-9091 (C.D. Cal.)




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Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 56 of 86 Page ID #:7878




        TRIAL EXHIBIT NO. 345
                             Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 57 of 86 Page ID #:7879
                                    Thrive Natural Care, Inc. v. Thrive Causemetics, Inc., Case No. 2:20-cv-9091 (C.D. Cal.)




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        TRIAL EXHIBIT NO. 380
Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 59 of 86 Page ID #:7881


  From: Phil Segal phil@digitalnative.co
Subject: Thrive Casuemetics
   Date: August 12, 2019 at 9:08 AM
     To:

       Hi Alex and Brandon,

       Read this article over the weekend while researching them a bit - you may
       have already seen it or know the story:
       https://www.beautyindependent.com/thrive-causemetics-major-dtc-beauty-business/

       Couple interesting takeaways for me:

        - They didn't really credit a specific influencer strategy or channel
        with their success; instead they believe that the groundswell of female
        consumers drove the popularity over time, and then came the other presence
        - While the mission is inspiring and supportive of sales, the product
        quality is the main driver of purchases, as per surveying/data
        - They had 1-2 specific products that really put them on the map
        - They sell only on their website (no Amazon, retail, etc.)

       We need to find Thrive's hero product. Sunblock would have been
       interesting, but I think we mostly missed the window for this year
       <https://trends.google.com/trends/explore?q=sunblock&geo=US>.

       Despite what they say, I think we need to figure out the influencer
       strategy. Samples and placements.

       Also, my anecdotal observation is that most of the successful DTC brands
       have a large Instagram presence with frequent posting. That isn't typically
       in my wheelhouse, so we need to figure that one out.

       I have a connection with the founder of PR for Good
       <https://publicityforgood.com/> - her firm specializes natural consumables
       products with a mission. I talked with her this morning and am going to see
       what she proposes, and potentially suggest we put some budget there. The
       problem is that PR often/generally doesn't result in direct sales. But it
       might be a viable strategy for some of the budget, since we are heading
       into the holiday season (publications are putting together Gift Guide
       recommendations as we speak), and we have a tight deadline and probably
       need to fire salvos in as many channels as possible.

       *Last thing*: my primary goal is for us to get a sale out this week, or
       possibly prep for coming Sunday / Monday (bigger eCom days). That would
       involve an email and FB/IG posts and boosting.

       Ok that was a lot to hit you with on a Monday morning, but let me know your
       thoughts...

       Phil Segal

       *Chief Optimizer of Digital Media*
       *M: (818) 730-6892*
       *www.DigitalNative.co <http://www.DigitalNative.co>*

       *"Great things are not done by impulse, but by a series of small things
       brought together."*

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        TRIAL EXHIBIT NO. 142
The Next Beauty Industry Unicorn?
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Thrive Causemetics Is Quietly
Building A Major DTC Business




Established a year after Glossier, direct-to-
consumer beauty startup Thrive Causemetics
receives little of its cool-girl hype. While Glossier
sells aspiration in a minimalist package, Thrive
exudes relatability from its signature turquoise
tubes. If you havenʼt heard of the philanthropic
vegan cosmetics brand, it might be because Thrive
hasnʼt reeled in big-time investors, plastered cities
with billboards, popped up to fuel Instagram posts
or paid famous social media gurus to plug it. “It
wasnʼt an influencer shout-out that put us on the
map. It was the everyday woman whoʼs working 9
to 5 and being a badass,” says Karissa Bodnar, the
29-year-old founder of Thrive. “They influence        us
                                                TNC01129
in the Case
       product           development
            2:20-cv-09091-PA-AS                     process,
                                Document 165 Filed 10/26/21            and
                                                            Page 63 of 86       they
                                                                          Page ID #:7885

influence each other by spreading the word about
the products they love.”
Thrive is perhaps the beauty industryʼs most low-key breakout brand.
Although it remains under-the-radar, one of Thriveʼs bestselling Liquid Lash
Extensions Mascara products is snapped up every nine seconds, and itʼs
turning into a rouged Robin Hood, doling out goods and money when
societal and environmental problems demand action. The brand dedicated
$25 million worth of merchandise to more than 50 organizations fighting
cancer, domestic abuse and homelessness to mark its fourth anniversary
earlier this year and, last year, donated a dayʼs profits of $250,000 to help
with California wildfire recovery efforts. Extrapolating based on its single-
day donation, Thriveʼs annual profits surpass $91 million. Beauty
Independent chatted with Bodnar about sustaining her brandʼs growth,
being rejected by retailers, hiring an in-house therapist, slowly creating new
products, expanding into skincare and whether altruism impacts sales.

How did the brand come to be?

Early in my life, I developed a passion for beauty. I grew up on a farm that
was literally on a dirt road in a town outside of Seattle called Stanwood. I
didnʼt have cable. I had lots of animals. I loved the way that beauty made me
feel confident, but I didnʼt have access to makeup stores because they were
so far away. The closest makeup store was over an hour away. I would go
into the garden and grab whatever I could find to make makeup like
spirulina and rose petals that I would mix with crayons to make lipstick.
They werenʼt extremely sophisticated formulas, but I loved creating beauty
products.

I started working as a makeup artist as a way to pay for college. I did that up
until I graduated. Then, I worked for Clarisonic when it was a small startup. I
worked in product development, and it was such a great experience to learn
                                                                             TNC01130
about what
         Caseit2:20-cv-09091-PA-AS
                 takes to build Document
                                   a company    and
                                         165 Filed     a brand.
                                                   10/26/21 Page 64At  Clarisonic,
                                                                    of 86              we were
                                                                          Page ID #:7886

really changing the industry with a device that had never existed before.
When Clarisonic sold to LʼOréal, I went to work to work for LʼOréal in its
luxury division. I was traveling the world in my early 20s sourcing
ingredients and developing formulas in the lab. I was really living my dream
job.

I was in Paris for LʼOréalʼs annual conference, and my friend Kristy called
me. She was in Chile teaching English in an orphanage. I had been hell bent
on climbing the corporate ladder, and she was hell bent on philanthropy.
When she called me, she told me she had something that could be cancer.
When you are 23- or 24-years-old, you donʼt think something like that is
going to take somebodyʼs life. Unfortunately, less than a year later, it took
Kristyʼs life.

That caused me to think about my purpose. Whatʼs my why? Why am I
here? I knew I was born to be in the beauty industry, but there wasnʼt a
brand I could work for where I could also give back the way I wanted. Kristy
was the catalyst for me having a carpe diem moment. If I didnʼt do this now,
when would I do it? She inspired me to build a brand that was much bigger
than beauty.




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            Case 2:20-cv-09091-PA-AS Document 165 Filed 10/26/21 Page 65 of 86 Page ID #:7887




Thrive Causemetics founder Karissa Bodnar


What did you start Thrive Causemetics with?

From the very beginning, I wanted to create a brand that was about more
than just selling makeup, a brand that was giving back. My idea was for it to
have really high-performance, vegan and cruelty-free formulas. Back when I
started Thrive over four years ago, there werenʼt really products that were
vegan, cruelty-free and also high-performance. That was something I
wanted to lead with and, for the give-back mission to start, for every
product purchased, one was donated to help a woman.

We just had lashes and adhesive. I literally made the adhesive in my blender
at home. There wasnʼt a formula out there that was free of latex, sulfates
and formaldehyde that was really waterproof. Itʼs a 24-hour lash glue.  Itʼs so
                                                                   TNC01132
strong even
          Case though     it only has
               2:20-cv-09091-PA-AS     two165
                                   Document ingredients.
                                               Filed 10/26/21 A funny
                                                              Page 66 of 86antidote    Iʼve heard
                                                                             Page ID #:7888

from Jessica Simpsonʼs team is she will put on her lashes with the adhesive
on Monday to fly to New York, be there a whole week, and come back with
the same lashes on. Itʼs a very effective product without the latex, sulfates
and formaldehyde that can be damaging. A lot of times women who wear
lash extensions have to stop wearing them because they develop an allergy
to latex. That was the inspiration for our lashes and, ultimately, for the
Liquid Lash Extensions Mascara that I was working on at the same time that
I was working on the lashes.

How have you evolved the brandʼs giving program?

Up until November 2018, for every product purchased, one was donated to
help a woman thrive. When the horrible fires hit Northern and Southern
California last year, I was watching the news on a Saturday, seeing the
devastation and thinking that we have to take action. One of the things I
love about being an independent beauty brand is that we can act very
quickly. We came up with the idea of donating 100% of our profits from one
day to help the recovery from the fires. Just a few days later, we were able
to donate over $250,000 to help those impacted by the fires.

We are still giving products for every purchase, and we have also
introduced what we call responsive giving. We give back in three different
pillars: one is to help women emerging from homelessness and reentering
the workforce, the second is domestic abuse, and the third is cancer. With
work with hundreds and hundreds of charities. We provide them with
products that theyʼre looking for and, if they need financial assistance, we
partner with them that way.

There are also moments in time where we mobilize whether itʼs because of
a natural disaster or an occasion like International Womenʼs Day. When the
wildfires hit, there were animal groups that we partnered with, which was a
very natural extension of our brand being that itʼs vegan and cruelty-free.
                                                                  TNC01133
Animal shelters saved the lives of thousands of animals that had been
displacedCase
          by2:20-cv-09091-PA-AS
              the fires.          Document 165 Filed 10/26/21 Page 67 of 86 Page ID #:7889


On International Womenʼs Day, we donated 100% of the profits from sales of
our Buildable Blur CC Cream and Blend + Blur Sponge to Sheʼs The First.
There are 130 million young girls who donʼt graduate from high school in the
world, and thatʼs just staggering to me. The great thing about Sheʼs The
First is that girls are a part of a program that may allow them to be the first
person in their families to graduate from high school. The fact that Thrive
can be a part of building the next generation of strong women is one of the
most amazing things we decided to do this year.

Do you think your give-back component influences purchasing decisions?

We have data on that from our community. Really, they are purchasing the
products because they love the products. Our giving really matters to us,
and I wouldnʼt be doing what Iʼm doing if I didnʼt have this incredible desire
to give back. I know our employees really care about it. Our community
cares very much about the giving, but, if we didnʼt have amazing products
that are very high-performance, we wouldnʼt have a company.

How many products does Thrive Causemetics have today?

We started with a couple and, today, we have over 100 SKUs. I started
working on our CC cream, mascara and eyeliner at the very beginning in my
kitchen. In this world of fast fashion and fast beauty, we are taking time to
create new formulas. We develop and own the formulas ourselves. I first
started developing the CC cream, which was the first inclusive CC cream on
the market, in 2015, and it didnʼt come out until August 2018 because it just
took us that long to do. The line has developed to always have really
purposeful skin-loving ingredients and super high-performance, and be
vegan and cruelty-free. We develop products with our Thrive Tribe, which is
our community online. They help test the products. We had thousands of
women with different skin tones and types testing the CC cream formula,
                                                                    TNC01134
giving us feedback and helping us fine-tune it until the shades and    formula
was perfect.
        Case 2:20-cv-09091-PA-AS        Document 165 Filed 10/26/21 Page 68 of 86 Page ID #:7890


The bestseller is Liquid Lash Extensions Mascara. What really put us on the
map was Infinity Waterproof Eyeliner, and that is still neck and neck with
Liquid Lash Extensions Mascara as is our CC cream. Those three are really
strong with our community. We created Liquid Lash Extensions Mascara
with our Thrive Tribe. When it launched, I had high hopes for it, but it sold
out in 48 hours. We would have it and, then, weʼd sell out. For the first year,
we could not keep it in stock at all, and we are just now getting to the place
where we are able to satisfy the demand, which Iʼm so grateful for. It
definitely surpassed my expectation.




Liquid Lash Extensions Mascara is Thrive Causemeticsʼ bestseller. One of the mascaras is sold every nine seconds.
                                                                                                 TNC01135
What areCase
         areas    where you believe
             2:20-cv-09091-PA-AS          there
                                 Document 165 Filedare  opportunities
                                                    10/26/21               for Thrive
                                                             Page 69 of 86 Page ID #:7891

Causemetics in products?

Due to the feedback from our community, we launched the sleeping mask
Overnight Sensation. Itʼs a game changer. Our community absolutely flipped
out when we launched it. The loyalty on that particular SKU had been off
the charts. Because of the success of that, we have continued to develop
our skincare line. Iʼm really exciting about building our skincare portfolio.

Whatʼs your distribution strategy?

If you asked me four years ago, I wouldʼve thought we would have built the
brand at retail. What wound up happening was we had this incredible
community that mobilized online, and it wasnʼt because of an influencer
shout-out. It was because people loved the product and loved that we were
giving back, and were vegan and cruelty-free. We couldnʼt keep up with
demand online, and we still struggle to keep up with the demand on
thrivecausmetics.com, where weʼre exclusively sold. Because of the direct
connection we have with our Thrive Tribe, we can talk to them about what
they are looking for from us. Thatʼs been a gift I didnʼt realize when I was
first starting the brand.

What was it like pitching retailers?

Right now, we are very focused on thrivecausemetics.com. We have a
rapidly growing direct-to-consumer business, so weʼre not looking to go
into retail. In the beginning, when I was walking in with lab samples and a
dream, and running the brand out of my apartment, they werenʼt
particularly interested in partnering with us. It wasnʼt a bad experience, but I
learned a lot.

When did you see the business tick up online?

At the end of 2016, we had this incredible virality with our community. We
                                                                  TNC01136
still had very   few SKUs. WeDocument
           Case 2:20-cv-09091-PA-AS didnʼt 165
                                           even    have
                                               Filed       Liquid
                                                     10/26/21      Lash
                                                              Page 70 of 86 Extensions
                                                                            Page ID #:7892

Mascara. It was because of the Infinity Waterproof Eyeliner. They went
crazy for it. It started with one woman talking to another woman. We have
posts that have thousands of comments of people referring their friends to
the products. There was no flash sale. It was really our community coming
together.




Sold exclusively on its website, Thrive Causemetics is generating an estimated $91.25 million in annual profits.

                                                                                                    TNC01137
Can the brand keep up the growth itʼs been registering?
I believe it can.
          Case     Our customers
               2:20-cv-09091-PA-AS     have
                                   Document 165built  our business
                                                Filed 10/26/21 Page 71 of very rapidly
                                                                          86 Page ID #:7893and

profitably. We have been profitable since day one. One of our greatest
assets is our community and the way that they are so loyal to us. Once a
woman buys our CC cream, she is coming back and buying that in addition
to the mascara and perhaps an eyeshadow palette. I think that is because
of the thoughtful way that we are creating products with them versus for
them. Itʼs really the difference between a monologue, which is the old way
of luxury brands, and a dialogue.

In addition to product development, how do you include the Thrive Tribe?

We include them in our giving back. When the wildfires hit, they helped us
choose all five charities we gave back to. They helped me name my dog
when I rescued a puppy. We name our products after inspiring and powerful
women and, a lot of times, those women are in our Thrive Tribe. They are
involved not only in helping us create the product, but also name it.

The brandʼs signature color is turquoise. Why did you select that color?

When I was starting Thrive and, even today, most cosmetics are in black or
white packaging. Because we are a beauty brand with a purpose and all of
our ingredients have a purpose behind them, I wanted our brand to evoke
the feeling of joy. I started researching the meaning behind different colors,
and I found out the meaning of turquoise is joy. One of the original mantras
we had was, “Joy is the best makeup,” and thatʼs the reason I chose
turquoise.

People thought I was crazy with a lot of things when I was starting the
business, but two of the things that I got the most feedback on was the
turquoise packaging and selling the way we are selling online. Those were
experts in the beauty industry giving me that feedback, but our community
is always raving about the turquoise packaging and how it makes them
happy. Itʼs easy for them to find our products in their makeup bags, and
                                                                  TNC01138
weʼve kept the turquoise because they love it.
What digital outreach has worked
        Case 2:20-cv-09091-PA-AS          for Thrive
                                 Document 165            Causemetics?
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What has worked is taking a multipronged approach. I think that, if you just
focus on one area of digital—if you have an amazing site, but nobody knows
your site exists—then you are going to be dead in the water. We have
focused on all of the different touch points. Take customer service, for
example. We hire makeup artists and aestheticians to be the ones having
direct conversations with our customer. We respond to every DM, and we
are getting thousands of DMs. In fact, that is one of our biggest customer
service channels. We have live chat on thrivecausemetics.com. We have
built a proprietary system that integrates all of our channels to make sure
that we know who we are speaking to and the questions she may have
asked in the past, so we can be really helpful to her.




                                                                                      TNC01139
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On International Womenʼs Day this year, Thrive Causemetics donated 100% of profits from sales of its Buildable
Blur CC Cream and Blend + Blur Sponge to the non-profit organization Sheʼs The First.


Have you taken outside investment?

I funded the company myself in the beginning, and it was with my life
savings of $100,000. Then, [friends and family supplied a] very small
                                                                 TNC01140
amount once    we got off theDocument
        Case 2:20-cv-09091-PA-AS ground
                                      165for  inventory
                                           Filed            purchases.
                                                 10/26/21 Page 74 of 86 Page ID #:7896


Would you be interested in taking outside investment now?

We are growing really rapidly and profitably, so itʼs not something that we
are pursuing.

How has your role shifted?

In the beginning, I was making the products, printing the labels, packing the
products into mailers and shipping the products out of my one-bedroom
apartment. I was customer service. I was social media. I was digital
marketing. Now, we have a team of about 40 employees that are so
passionate about what we are building and the way we are giving back. Iʼm
still in the lab making the formulas, and that will never change. Iʼm at every
giving event. Iʼm very involved in anything that touches our customer. Iʼm
kind of addicted to Instagram Live and Facebook Live. I love talking to our
community. Iʼm still overseeing finance and operations, but I have a team
that supports me on that. My priority is always the customers and the
product, and Iʼm very involved in the day-to-day.

How have you found being a manager?

That has been a journey for me. Before Thrive, the biggest team I managed
had four people. About a year ago, we hired a psychologist to work for us,
which I think is something that is really groundbreaking, not just in beauty,
but beyond beauty as well. Her name is Erin Brower, and sheʼs an incredible
person, therapist and mentor. Sheʼs helped me create the culture that Iʼve
always dreamed of. The North Stars for our culture is that we are clear, kind,
boundaried and honest. The reason why having someone like Erin is so
important is because, if we can make our team members feel that Thrive is
a safe place to voice their opinions, we are able to be much more efficient,
and people will live happier lives. They will able to thrive outside the
workplace and inside of it.                                           TNC01141
What advice  do you have for
       Case 2:20-cv-09091-PA-AS   beauty
                                Document 165 entrepreneur       hopefuls?
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Whether they want to build a brand or they are looking to get their dream
job, my advice for others who are pursuing their dreams is to focus on their
why. My why has always been the women that we are helping. They are the
ones that inspire me. Your why is what keeps you going as you are filling
customer orders or staying up until 2 a.m. answering customer service
emails.




                                                                                      TNC01142
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Thrive Summary Financial Statements                                   20

              Income Statement            I       Q1            Q2
Gross Retail Sales                            $         -   $         -
Net Revenue                                   $         -   $         -
Cost of Sales                                           -             -

Gross Margin                                            -             -

Operating Expenses
  Sales & Marketing                                    -         4,000
  Product Development                              5,425         2,721
  General & Administrative                        13,436         6,237

Total Operating Expenses                          18,861        12,959

Operating Margin                              $   (18,861) $    (12,959)

Other Income (Expense)                                  -             -
Taxes                                                   -             -

Net Income                                    $   (18,861) $    (12,959)




                             ATTORNEYS' EYES ONLY                         TNC01282
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013                                                           2014

        Q3               Q4               Q1             Q2           Q3             Q4
 $              -    $           -    $   14,376     $    5,704   $    8,433     $   11,077
 $              -    $           -    $    1,905     $    3,717   $    4,374     $    6,260
                -                -         4,495          3,282        3,432          4,853

                -                -         (2,590)          435          942          1,407


         8,920            2,557           50,214         25,147       21,130          7,341
        18,002           39,717            9,442          4,250       16,316         16,142
        23,986           17,317           25,217         22,420       37,212         36,341

        50,908           59,591           84,873         51,817       74,657         59,824

 $      (50,908) $       (59,591)     $   (87,464) $     (51,382) $   (73,716) $     (58,417)

             (158)            (864)        (1,137)       12,358        (1,877)        (3,322)
                -                -            400         1,622           330              -

 $      (51,066) $       (60,455)     $   (89,001) $     (40,646) $   (75,923) $     (61,739)




                                      ATTORNEYS' EYES ONLY                             TNC01284
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                         2015                                                         20

     Q1             Q2             Q3             Q4             Q1             Q2
$    12,842     $   27,131     $   12,930     $   14,034     $   26,370     $   14,522
$     4,584     $   11,470     $    5,601     $    8,355     $   13,381     $    7,629
      5,596         11,907          5,774          6,376         11,285          4,793

      (1,012)         (437)          (173)         1,979          2,096          2,837


     27,471         20,282         20,539         26,409         11,358         12,528
     15,524         11,305         17,653         13,500         21,498         11,560
     30,115         25,500         29,889         24,426         19,289         29,256

     73,110         57,088         68,082         64,336         52,144         53,343

$    (74,123) $     (57,524) $     (68,255) $     (62,357)   $   (50,048) $     (50,507)

      (3,811)        (4,831)        (5,549)        (6,261)        (7,007)        (7,497)
         600             23             24              -            578          1,003

$    (78,534) $     (62,378) $     (73,828) $     (68,618)   $   (57,633) $     (59,006)




                                   ATTORNEYS' EYES ONLY                             TNC01286
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016                                                     2017

       Q3            Q4             Q1             Q2             Q3             Q4
 $     10,197    $   25,525     $   22,077     $   42,982     $   51,010     $   89,352
 $      5,874    $   14,881     $   15,289     $   29,305     $   36,117     $   60,055
        3,270         9,635          9,929         19,267         23,850         40,923

        2,603         5,247           5,360        10,037         12,267          19,131


       16,841        36,489          51,910        37,345         32,106          38,103
        8,333         3,622          16,183        10,784         18,121          23,145
       35,426        32,499          36,481        46,994         46,754          46,018

       60,600        72,611         104,574        95,122         96,981         107,266

 $    (57,997) $     (67,364)   $   (99,214) $     (85,085) $     (84,714) $     (88,134)

      (13,221)       (14,040)       (13,925)       (14,917)       (15,746)       (16,432)
          150            185            900            800              -              -

 $    (71,368) $     (81,589)   $ (114,038) $ (100,802) $ (100,461) $ (104,566)




                                ATTORNEYS' EYES ONLY                             TNC01288
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                         2018                                                         20

      Q1            Q2              Q3              Q4             Q1            Q2
$     72,359    $   82,267     $    79,326     $   159,154    $   104,082    $   89,877
$     53,293    $   58,991     $    59,704     $   130,602    $    78,241    $   70,639
      37,353        43,833          38,547          82,441         47,148        42,305

      15,940         15,158         21,157          48,160         31,093         28,334


      50,966         40,154         33,272          17,897         17,329         30,611
      31,569         10,359          6,325           1,968          8,730         10,826
      95,387         86,726         52,254          24,629         37,002         44,770

     177,923        137,238         91,852          44,494         63,061         86,207

$ (161,983) $ (122,080) $           (70,695) $       3,666    $   (31,968) $     (57,873)

     (20,193)       (79,299)        (24,269)       (22,953)       (24,067)       (29,200)
         828            825               -            193            800            677

$ (183,004) $ (202,204) $           (94,964) $     (19,481)   $   (56,835) $     (87,750)




                                   ATTORNEYS' EYES ONLY                          TNC01290
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19                                                      2020

       Q3             Q4            Q1             Q2             Q3               Q4
$     175,436    $   310,125    $   174,763    $   218,380    $   161,540     $    448,696
$     120,927    $   217,416    $   115,613    $   157,386    $   112,760     $    315,150
       76,000        136,231         72,913         91,658         68,058          202,233

       44,927         81,185         42,700         65,728         44,701          112,918


       86,906        123,646         23,585         62,483         41,232          138,005
        6,468          3,973          9,914          4,714          4,393           17,248
       42,847         39,818         43,287         62,585         61,950           85,750

      136,222        167,438         76,787        129,782        107,576          241,002

$     (91,295) $     (86,253)   $   (34,086) $     (64,054) $      (62,874) $      (128,085)

      (33,144)       (34,901)       (33,277)       (11,332)        (43,115)         (28,601)
          190            125            450            830               -              125

$ (124,628) $ (121,279)         $   (67,814) $     (76,216) $     (105,989) $      (156,811)




                                ATTORNEYS' EYES ONLY                              TNC01292
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    2013             2014          2015           2016           2017           2018

     FY               FY            FY             FY             FY             FY
$           -    $    39,590   $    66,936    $    76,614    $   205,421    $   393,106
                 $    16,255   $    30,009    $    41,766    $   140,766    $   302,591
                      16,062        29,652         28,983         93,970        202,175

            -           193           356          12,783         46,796        100,416


      15,477         103,832        94,702         77,216        159,464        142,289
      65,865          46,150        57,983         45,012         68,233         50,221
      60,976         121,190       109,931        116,470        176,247        258,997

     142,318         271,172       262,615        238,698        403,944        451,507

$   (142,318) $ (270,979) $ (262,259) $ (225,915) $ (357,148) $ (351,091)

       (1,022)         6,022       (20,452)       (41,765)       (61,020)       (146,714)
            -          2,352           647          1,915          1,700           1,847

$   (143,340) $ (267,309) $ (283,357) $ (269,595) $ (419,868) $ (499,652)




                               ATTORNEYS' EYES ONLY                               TNC01294
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    2019            2020

      FY              FY
$    679,521     $ 1,003,379
$    487,223     $ 700,910
     301,684         434,862

     185,539        266,047


     258,493        265,305
      29,998         36,269
     164,437        253,572

     452,928        555,146

$    (267,389) $    (289,099)

     (121,311)      (116,326)
        1,792          1,405

$    (390,492) $    (406,829)




                                ATTORNEYS' EYES ONLY                  TNC01296
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                                 2020         I   I   <@9?,           I    I   < ?9??        I   < ?9?4       I   <2024         I   r 2025        I
Gross Retail Sales               1,003,382              1,798,024               3,227,657         5,962,765       11,054,877         19,962,662

Net Revenue                       700,910               1,231,587               2,428,596         4,427,664        8,289,683         15,059,944

Cost of Sales                     434,862                 728,630                1,197,876        2,093,609        3,660,544          6,211,015
Gross Margin                      266,047                 502 ,957               1,230,720        2,334,055        4,629,139          8,848,929

Operating Expenses
   Sales & Marketing              265,305               1,006,343               1,457,157         1,505,406        2,486,905          3,764,986
   Product Development             36,269                  91,700                 109,287           154,968          269,415            451,798
   General & Administrative       253,572                 431,718                 607,149           664,150        1,243,452          2,108,392
Total Operating Expenses          555,146               1,529,761               2,173,593         2,324,524        3,999,772          6,325,177

Operating Margin                  (289,099)             (1,026,804)              (942,873)            9,531          629,367          2,523,752

Other Income (Expense)            (116,326)                (80,622)               (25,612)          (18,689)         (15,253)          (13,311)
1 axes                               1,405                   1,400                  2,000             1,430           94,405           378,563
Net Income                        (406,829)!            (1,108,826)!             (970,486)!         (10,588)!        519,709    !     2,131,879   !




                                                                          ATTORNEYS' EYES ONLY                                                        TNC01240
